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                                                                           AUG 0
                                                                          ANGELA E. NOBLE
                                                                         ~LEAK U.S. DIST. CT.
       JAMES BUCKMAN and                   Case No. 19 OMl!M::S           . D. OF FLA. - MIAMi

      MAURICE SYMONETTE                             ;q-cv, ~ 9 /'
     Plaintiff,                   SECOND AMENDED COMPLAINT
     vs.
                                                    1. QUIET TITLE

                                                     2. SLANDER OF TITLE
     LANCASTER MORTGAGE
     CO.,DEUTSCHE BANK NATIONAL
     TRUST CO. AS TRUSTEE UNDER THE                 3.    BANK VIOLATED 30 DAY NOTICE TO
     POOLING AND SERVICING                                SALE NOTE JNVIOLATION OF FLORIDA
     AGREEMENT SERIES RAST 2006-AS                        STAT. 559.715
     (CSFB), C/0 OCWEN ATTN: Vault Dept.            4.    UNJUST ENRICHMENT
     5720 Premier Park Drive, West Palm
     Beach,FL.,33407,SECURITY                       5.    VIOLATION OF RESPA 12 U.S.C 2605
     EXCHANGE COMMISSION (SEC), U.S.
     DEPARTMENT OF THE TREASURY/1.                  6.    VIOLATION FL. STAT. 697.10 NO
     IRS.                                                 CONTRACT

    Defendants.                                     7.    FRAUD & CONCEALMENT

                                                    8. VIOLATON OF FLORIDA STAT.
                                                       45.031(8) PROPERTY SOLD AT
                                                       FORECLOSURE PRICE SO
                                                       LOW THAT IT SHOCKS THE
                                                       CONSCIENCE
                                                    9.    VIOLATION OF TIMELY
                                                          ASSIGNMENT

                                                    10.      BANK NO CONSIDERATION
                                                         MONEY MUST BEG 1 VEN TO
                                                         ASSIGNNOTC

                                                    11.    ELEVENTH CAUSE OF ACTION
                                                       VIOLATION GAAP FASB FAS 140
                                                        RULE AS GOVERENED BY THE SEC
                                                       AND THE US DEPARTJY?ENT OF THE
                                                       TREASURY/ (IRS)

                                                      12. WRONGFUL FORECLOSURE
                                                           FLA.STAT 695.14
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                                                       13.Florida Deceptive and Unfair
                                                           Trade Practice

                                                       14.IllegalConsum er Collection


                                                    15 VIOLATION OF
                                               TH E 1964 CIVIL RIGHTS A CT




                             COM PLAINT FOR OUIET TITLE




     C0MV(;
          Y9Fj
             2
             Y#Pl#pMffsMAURIC4SYMONb;TT4ANDJAMWIj
                                                MKCKMAN,wjpl
                                                           /rethird
      party personstoQUITE TITLEAMENDED COMPLAINT VERIFIED PETITION FOR
      D EcLAM To RY R ELlEFA ND luD GM ENT astothispropertyw how erenotapartyto
      theForeclosure Accordingto the3DCA CaseN0:3919-0821 LOW ER TRIBUNAL 2007-
       18226CA-01on frontpageofAppealle'sM otionto Dism isstheappeal#3zthereby
           eliminatingResludicataandRookerFeildman onPlaintiffs,Exhibit,A2.


                           IP IURY TRIAL DEM ANDED




       (''plaintiffl,complainingabouttheDefendantsasnam edabove,andeachorthem,as
                                          3
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                                             follow s



                            PARTIESthatShare interestin the Property:
         1.PlaintiffMAURICE SYM ON ETTE isnow ,atld atalltim esrelevantto thisaction,a
   residentofthecountyofDADEzstateofFLoRlDA.andaholderoftheTitletothissaidproperty
         lA.PlaintiffJamesBuckmanisnow andatalltimesrelavanttothisactionaresident
          ofDade County and a holderoftitle to thissaid property.


         2,LancasterMortgageBankLLCDefendant,who may haveinterestinthesubject
         Property.JAMES BUCKMAN isinform edand believe,and thereonallegethat,
         DefendantLANCASTER M ortgageBankLLC,isacorporation,doingbusinessinthe
         CountyofDADE,stateofFLoRlDAandisthepurported SponsorforsecuritizedTrust
         and/or
         purported participantin theimperfectsecuritizationofNoteand/ortheDeedofTrust
         asm ore particularly described in this Com plaint.w ho's address is 1794 Oregon PIKE
         LANCASTER P.A.17601.


         3,DEUTSCHEBANK NATJONALTRUST COMPANYASTRUSTEE,UNDER THE POOLING
         ANDSERVICINGAGREEM ENTSERIESM STZOO6-A8(CsFBlzwhoclaimstoownthe
         Subjectpropertyc/oocW EN:vaultDept.whodsaddressisl76lEast.saintAndrews
         Place.SantaAna California.92705


         4.U.S.TREASURY/IRSwho'saddressis1500PennsylvaniaAve.,N.W .W ashington,D.C.
         20220.

             TIIeUNITED STATEsTreasurym ayhaveinterestinthisbecausethenotew assold
      inRIM IC which bylaw had todestroytheNotetoturn itintoaBondorastockbecausethe
        Notecannotexistatthesam etim eastheBond,becausethatw ould becalled double-
        dippingandbecausetheNotewasdestroyedTheU,S,InternalRevenue(U.sarrreasury)
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           gaveDeutsche Bank NationalTrustCompany AsTrustee,UnderThePoolingAnd Servicing
            AgreementseriesRast2006-A8(CSFB)a'raxwrightofffrom theu,s.rrreasuryasaloss
            w hich givesThe U.S.Treasury interestin the property sothereforethe title m ustbe
           QuietedconcerningTheu.s.Treasury.ouiteTlTLEisthesolereasonthatlam
               SuingtheSECand theusdept.oftheTreasury/lRsin thisComplaint.


             5. SECURITYAND EXCHANGE COM M ISSION w ho'saddressis801 BrickellAVE. #1800
             M iam iFL.33131.




                                       CLA IM O F RELIEF


11).PlaintiffBringsthisadionagainstDEUTSCHEBANKNATJONALTRUSTCOMPANYASTRUSTEE,UNDERTHE

POOLING ANDSERVICINGAGREEMENTSERIESRAST2006-A8(CSFB)from now seenasDEUTSCHEBANK
NATJONALTRUST. and Does1-88 forselllng Plaintiffsproperty Ata Foreclosure sale to Deprive plaintiffsoftheir

Residence w ithoutany lawfulclaim to the property and forusing RACISM and DISCRIM INATION by DEUTSCHE

BANK NATJONALTRUST lying to the Police saying w e are not allow ed in the house who rem oved usfrom the house

withoutIegally evicted earlierto evictus outofthe house without a CourtOrderbecause w e are BLACK. And for

rico colluding to stealourhouse.




                   TheSECURITY AND EXCHANGE COMM ISSION (SEC)m ay have
           interestin thisbecause thefake Note w assold on the M arket Governed
                                                     5
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               by the SEC asevidenced by the factthatDEUTCHE BANK NATIONAL

               TRUST COM PANY A S TRUSTEE, UNDER TH E POOLING A ND

               SERVICING AGREEMENT SERIESRAST 2006- 48 (CSFB),w hich is
              The PSA SEC

              Stock and Bond M arhettherefore The Title m ustbe Ouieted

              Aeainstthe SEC.Ouite TITLE isthe sole reason thatIam Suine the

              SEC and the usdent.ofthe Treasurv/lRs in this Com nlaint    .




               Defendant,LANCASTER M ortgageBankLLC PlaintiffJAMES
               BUCKM A N is inform ed and believe, and there on ailege that,
               DefendantLAN CASTER M ortgage Bank LLC, isa corporation,doing
               business in the County ofDA DE, State ofFLORIDA and isthe
               purportedSponsorforSecuritized Trustand/orpurported participant
               in theimperfectsecuritization ofNoteand/ortheDeed ofTrustas
               m oreparticularly described in thisCom plaint.




         zaDefendant,LANCA STER M ortgage Bank LLC. PlaintiffJAM ESBUCKMAN is
         inform edand believe,and thereon allege that, DefendantLANCASTER
         M ortgage Bank LLC,isa corporation, doing businessin the County ofDADE,
         State ofFLORIDA and isthe purported M asterServicerforSecuritized Trust
         and/orapurported participantintheimperfectsecuritizationoftheNote
         and/ortheDeed ofTrustasm oreparticularly ascribed in thisCom plaint,

                   3.Atalltim esrelevantto thisaction, PlaintiffJAMES
             BUCKMAN hasow ned the Property located at1977 NE 119th RD
             M IAM IEh.33181 (theftproperty'').
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                     4. PlaintiffJAM ESBUCKMAN isinform edand believe,and
               thereon allege,thatatalltim esherein m entioned, each ofthe
               Defendantsw eretheagents,em ployees,servantand/orthejoint-
              venturesofthe rem aining Defendants,and each
              Ofthem ,and indoingthethingsalleged hereinbelow zw ereactingw ithinthe
              courseand scopeofsuchagency,employmentand/orjointventure.
                            INTRODUCTION IURISDICTION ANDVENUE

                     5. Thetransactionsandeventswhicharethesubjectm atter
               ofthisCom plaintalloccurred w ithintheCountyofDADEz stateof
               FL0RlDA.and theUnitedStateSDEALINGW ITHTHEU .S.TREASURY
              AND TH EFEDERAL SECU RITIES A ND EXCHAN GE CO M M ISSION
              (SEC)alongwith FederalViolationsgivesthisFederalCourt
              Jurisdiction.

                        The Property islocated w ithin the County ofDADE, State ofFLORI

              DA w ith and address of 1977 NE 119th RD M IAM I FL. 33181. M aurice

              Symonette Ilive inthe ofTexas Defendants/Respondentsarecitizensofthe
              StatesofOregon,CA,DC,New York and Florida. There is com plete diversity

              ofcitizenship between Plaintiff/ Petitionerand Defendants/Respondents.


                     Petitionersseekto quiettitleto Petitioners'property. Theam ountin

              Controversy exceeds$75,000.00.

                                    BA C KGR OY
     16,On inform ation and belief,Deutshe Bank & Lancaster could not prove the
        term s ofthe instrum entand its right to enforce the instrum ent. The court
        may notenterjudgmentin favoroftheperson seekingenforcementunless
        it finds that the person required to pay the instrum ent is adequately
        protected against loss that m ight occur by reason of a claim by another
        person to enforce the instrum ent. That never exhisted Fla. Stat. 5
        673.3091(2).
Case Cas
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      17.On inform ation and belief,Plaintiffspecifically denied a1lnecessary term s
         ofthe note w ere provided in the m ortgage attached to the 2007 because
         the note and M ortgage has no signatures or initials foreclosure com plaint.
         The note attached to the foreclosure com plaint and Plaintiffs challenged
         Deutshe Bank & Lancasterstanding in this case w ith no closing sinatures..
      18.Neither Deutshe Bank or Lancaster could allege sufficient facts
         establishing that eithec w as entitled to enforce the purported debt or
         otherw ise establish either entity's standing before this Court in the 2007
         case. Siirrlply put, neither entity can be entitled to enforce the note it
         claim ed it ow ned w ith no signatures and intentionally w ithheld this
         m aterialinform ation from the Plaintiffs and this Court by asserting that
         they w ere entitled to collectthe alleged defaulted debtin this fake case.
     19.Deutshe Bank & Lancaster therefore, failed to allege in its foreclosure
        com plaintany ultim ate facts w hatsoever placing either w ithin the chain of
        ow nership ofthe purpolted note and m ortgage.Plaintiffdraw s the Court's
        attention to Uniform Com m ercialCode,especially but not lim ited to UCC
        3-604. Buckm an avcrs that there are serious questions about the
        legitim acy of the instant foreclosure com plaint filed in 2007 by Deutshe
        Bank,w hich also raise
         questions about how they got the unsigned Mortgage illegally on Dade County
         Records cam e into possession ofthe note and w hether itactually ow nsthe note.
         Ifwedo notraisetheseobjectionsand anothersocalledownerwould laterm ake
         a claim againstus,w e w tluld nothave the defense ofhaving acted in good faith,
         and w ould notbe protected againstsuch third party fake Claim s under UCC 3-
         604.Therefore w e are entitled to a declaratory ruling ofreliefby the Court.
     20. In 2006, ''W aM u'' filed for foreclosure, claim ing to be the ow ner and
        holder.It claim ed the originalnote w as lost and w as leftto prove how it
        cam e into possession ofthe note and how itw as lost.To date,W ashington
        M utualBank,hasnotbroughtsuch proof.

     21. The JPMC proofofclaim in the 2007 bankruptcy proceeding wasfiled on
        the basis of JPMC being the purchaser ofthe loans and other assets of
        W aM u.As evidence of debt,JPM C included an assignm ent of m ortgage
         from the original lender, NA M CO to W ashington M utual Bank- the
         previously claim ed lostnote had suddenly been found.


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     22.Either,W aM u in the instant com plaint m isrepresented that the note w as
        lost to the Court,as it apparently w as easy to find or it w ould not have
        'ffound''it in the 2007 case,or it w as not the party in possession of the
        note w hen itw as lostand for w hich ithas the burden ofproofthatit did,a
        requirem entunderUCC for filing a lostnote affidavit.

     23.Under UCC,specifically,UCC Section l-201(b)(21)(A),one can only be a
         holder as the payee on the note or by a bearer endorsem ent in blank,
         otherwise one is a nonholder in possession ofthe (notej who has the
         rights of a holder.How ever,there w as never a closing on the Lancaster
         Note so allofthis isvoid.

     24,If Lancaster Bank could not plead status of a holder by a bearer
         endorsem ent , then Deutshe Bank cannot do so either. In fact,JPM C
         statem entin its proofofclaim in the Bankruptcy case,thatitDeutshe Bank
         w as Assigned the M ortgage by M ERS from Lancaster There is not a shred
         of evidence in the instant case of 2007 case on the instant loan ever
         exhisted asan assetofDeutshe Bank or LancasterBank,


     25.It follows that the foreclosure filing in 2007 is m oot.The role ofJPMC
        w hich solely rests on the inadequate indorsem ent in blanlc by State Street
        does not confer any entitlem ent herein to enforce the note to Deutshe
        Bank &.also fails as a successor to any claim by Lancaster,since Deutshe
        Bank itself w ould only have been a holder by virtue of the flaw ed
        endorsem ent of the Not and M ortgage to Deutshe Bank from Lancaster.
        This clearly show s that Deutshe Bank or Lancaster w as not in possession
        ofany Note that it claim s in this case from 2007 or entitled to file a lost
        note affidavitby being the lastin the chain ofcustody.Again,foreclosure is
        a ''freeze fram e''proceeding,the lack ofstanding and capacity by W aM u in
        2007 cannotbe repaired afterw ards,w hetherby W aM u


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   itself or even less, Deutshe Bank.ln addition Deutshe Bank could only becom e
   successorholdcrofthesubjcctloan iftherewas asigntureontheMortgageand Note
   orrealsignatureson aW arrenty Deed ofsale w hich neverhappened w e m ustsee the
   evidcnccd on the Lancasters Bank'sgcncralaccounting ledger.

26.Under the applicable law ,any 'lservicer''w hich acquires a bad debt,such as
   one in foreclosure,is deem ed a ''debt collector.'' If Lancaster Bank disputes
   this identity it m ust set forth clear and convincing evidence to the contrary.
   Further,w hether a party is a ''debt collectoi''under the relevant statutes also
   relates the am ount of debt collecting it perform s com pared to servicing. A
   significant portion of defendants Deutshe Bank M ERS or Lancaster entities
   business,through robo-signors such as Dory Goebelis ''debt collection.''This is
   especially true considering the failure rate of the loans it initiates collection
   processes w hich w ere originated from a third party,

27.In addition to joint and several liability for misconduct am ong joint
   Tortfeasors,defendants have also operated as a com m on enterprise,and each
   ofthem isjointly and severally liable forthe acts and practices alleged herein.
   No alleged owner ofthe beneficialinterestin the subjectunsigned prom issory
   note and m ortgage w as a holder in due course.Al1 references to defendants'
   ''
    m isrepresentations'' are defined as fraudulent m isrepresentations, reckless
   and wanton m isrepresentations, and/or negligent m isrepresentations,
   regardless of w hether rcfcrrcd to as 'tm isrepresentation'' or ''intentional
   m isrepresentation'' or 'tfraudulent m isrepresentationz'' or any other
   characterization ofthe m isrepresentation atissue,



                                    BACKGROUND FACTS

                                              lo
               This isan in rem proceeding pursuantto Florida Statutes Chapter65 and

         FederalLaw ,directed againstpetitioners'property situated w ithintheboundaries

         ofM iam i-DadeCounty.By virtue ofa unsigned fake Noteand M ortgageact

         OCTOBER 20,2005

         and filed illegally forrecord NOV.16,2005,recorded in Book 23966 PAGE 3465 of

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         the Public Records of M iam i-Dade County,I-lorida,fraudulently saying Leroy

         W illiamspurchased thesubjectpropertyandgaveaNoteand Mortgageinfavorof
         LancasterM ortgageBanking,aM assachusettsCorporation.Allegedlylnfavorof

         LancasterBankthefakeM ortgagew asAssigned toM ERsw ith no Notaryillegallyon

        the sam e day ofa no Closing illegally w ithouta 30 day notice or any notice to the

        fakebuyer.rrheyAssigned theM ortgagetoM ERSOct.20,2005,Attached hereto and

        madeaparthereofasPlaintiff/petitioner'sComnlaint,Exhibit''C''convofthe
        subiect fake Assienm ent and M ortzace and Note.DefendantDeutsche Bank

        NationalTrustw asassigned the Note by M ersW ho neverhad an assignm entand

        M ERSw asnotactingasnom inee forLancasterso Deutch bank foreclosed w ith out

        any standing.Plaintiff/petitionerchallengesthelegalstandingof
        Defendants/Respondentstoforecloseonthesubjectpropertyortoselltheproperty
        ata foreclosure sale and Evict.



              Notw ithstanding thatDeutsche Bank w asnotlisted asa parton eitherthe

        Note,allongesorMortgageand had nolegalstandingtocollectthenoteorforeclose

        the mortgage,Defendant/RespondentDeutsche Bank initiated a foreclosure against
        the subjectproperty and obtained a FinalJudgmentofForeclosure on orabout
        Decem ber5,2013,Attached hereto and m ade aparthereofisacertified copyofthe

        FinalJudgmentofForeclosureasPlaintiff/petitioner's
                                               12.

              Theorooertvw assubsequentlysold pursuanttoa fore-
                           -                                  closure salebv
                                                                 -




        Deutsce bank NationalTrust.on Februarv 22.2013.See Plainbff/petitioœ r's

        com Dosite ExhibitA,A certificate ofTitle wasissued to Dentshebank NationalTrust

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        on M arch 5,2013.See Plaintifrgpetitioner's com posite Exhibit A.Sub e u tlthe

        nronertv w as transferred bv Ouitclaim Deed from the Dur.chaser,Deutshe bank

        NationalTrustto Plaintiff/petitionerIAM ES BUCKMAN See Plaintiff/petitioner's




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        ExhibitD 1and D71.                               14



               Rightfultitlein andtothesubjectproperty isinPlaintiff/petitionerJAM ES
        BUCKM AN nam e.Although ordinarily Plaintiff/petitionerw ould takethe property but

        m ustbesubjecttovalidfirstmortgage,forDefendantsc espondentstotakeproperty
        buthave no legalstanding tcïcollecton the note orto foreelose the m ortgage,any such

        foreclosure wasand iswrongful.N otwithstandingplaintirfgpetitionerlAM Es

        BUCKM AN purchaserofthesubjectproperty,Defendant/RespondentDeutscheBarlk
        N ationalTrustCom pany,as Trustee D EU TSCH E BAN K N ATION AL TRU ST

        CO M PAN Y A S TRU STEE,U ND ER TH E POOLIN G AND SERVICIN G A GREEM EN T

        SERIESRAST 2006-A8(CSFB)threatensto EvictPlaintiffs/petitioner'sfrom property
        aftera fake foreclosuresale,although said Defendant/Respondentshave never

        produced any valid orrecorded assignm ent,orothertransferdocum entorother

        signedproofthatitownsandholdstheNoteand M ortgageonthesubjectproperty.




              1.Plaintiff/petitionerehallengesthe legalstanding ofD efendants/

        Respondentstocollectthesubjectnoteorforeelosethesubjectm ortgage.Standing
        isjurisdictional,isnotwaived byPlaintiff/petitionerrandcanberaisedatanytime
        Federalrulesofproeedure 3.1.Plaintiff/petitionerm ovesfora Prelim inary

        lnjunction/-remporaryRestrainingOrdertorestrain andenjoin thesaleand




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        evictionofthepropertyby Defendants/Respondentson February 19,2014pending
        resolution ofPlaintiff/petitioner'sQuietTitleclaim,asm orefully setforth in
        Plaintiff/petitioner'smotion setforth herein below

                INTKOBUCTIBN AND FACTUALALLEGATIONS


        Thisisan actionbroughtbyplaintifffordeclaratoryjudgmentzinjunctiveandequitable
        relief,and forcompensatory,special,generaland punitivedam ages.Because MERS never

        gota legalAssignm entfrom Lancaster8ank becausetherew asno Leroy W illiam 's

        M ortgageorNotethatw assigned and neverexhisted.SoLancasterdid notassign the

        m ortgageto M ERSand M ERScould nothave Assigned the M ortgageor Noteto

        Deutsche Bank,W hich show sthatan eviction w ould beILLEGALTHEFT 0F THIS

        PROPERTY.

        Sow e theplairitiff,hom eow ners,disputes thetitle and ow nershipoftherealproperty

        inquestion (the''Home''),which isthesubjectofthisactionzinthattheoriginating
        m ortgage lenderzandothersalleged tohaveow nershipofPlaintiffsm ortgagenote

        and/orDeedofTrust,haveunlaw fullysold,assignedand/ortransferredtheir
        ow nership andsecurity interestinProm issory Noteand Deed ofTrustrelatedtothe

        Property,andzthus,donothavea law fulow nership orasecurity interestin Plaintiffs

        Hom ew hichisdescribed in detailherein Forfraud,lntentionalinfliction ofemotional

        distress,rescission,declaratory reliefbased,on violationsofT.I.L.A.and R.E.S.P.A.,

        upon thefactsand circum stancessurounding Plaintiffsoriginalloan by Leroy

        W illiamsthatwasquitclaimedtoJAM ESBUCKMAN,ExhibitD1.transactionand
        subsequentsecuritization.Defendant'sviolationsoftheselaw sareadditionalreasons

        thisCourtm ustquiettitleinPlaintiffspropertyand

        awarddam ages,rescission,declaratoiyjudgment,andinjunctivereliefasrequestedbelow.
              28.From lgg8untilthefinancialcrashof2008-2009,over60m illionhom e
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        loanswhere sold by originating lenderbanksto investmentbanksto be securitized
         inacom plexseriesofbillionsoftransactions,ThePlaintiffshom eloanwasoneof
        the 60 m illion notesthatw eresecuritized.


               29,Securitization isthe processwhereby m ortgageloansareturned into
        securities,orbonds,andsoldto investorsbyW allStreetand otherfirm s.The
        purposeistoprovidealargesupplyofm oneytolendersfororiginatingloans,
        and to provide investm entsto bond holdersw hich w ere expected to be relatively
        safe.Theprocedureforsellingoftheloansw astocreateasituationw herebycertain
        tax law sknow n asthe RealEstate Mortgage Investm entConduit
        (hereinafter''REMIC'')Actwereobserved,andwherebytheIssuing Entitiesandthe
        Lendersw ould beprotected from eitherentitygoingintobankruptcy.Inorderto
        achievethe desired ''bankruptcy rem oteness/'nu merous''true Sales''oftheloanshad
        to occur,in w hichloansw eresoldandtransferred to thedifferentpartiestothe
        Securitization.


              30.A ''True Sale''oftheloan w ould be a circum stance w hereby one party
        ow nedtheNoteandthensold ittoanotherparty.Anofferw ouldbem adezaccepted
        andcom pensation given tothevseller''inreturn fortheNote.-l'heNotesw ould be
        transferred,and the DeedsofTrustassigned to the buyersofthe Note,w ith an
        Assignm entm ade every step ofthew ay,and furtherm ore,each Note w ould be
        endorsed to the nextparty by the previous assignee ofrecord.


              31.         EachREMlcTrustcreatedbytheinvestmentbanks,usuallyunder
        New york Law,would befunded with thousandstotens-of-thousandsofm ortgage
        notes.In orderto m aintain theirbankruptcy-protected status,REM IC'S had to
        haveclosing datesby w hich every m ortgagenotethatw asto be sold to the REM
        IC had to be ow ned by the REM IC.Once the REM IC closed,itcould acceptno
        m ore m ortgage notesundertheterm sofREM ICIaw,and itw ouldbeginselling
        securitiesbackedby paym entsfrom hom eow nerson the notesit''ow ned ''.
              32.How a particularm ortgage loan ended up being transferred to REM IC in
Case Case
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        thesecuritizationsprocessisgoverned by a contractknow n asa pooling and
        ServicingAgreement(''PSA'').ThePSA isaTrustAgreementrequiredtobefiled
        underpenaltyofperjurywiththeUnitedStatesSecuritiesandExchangeCommission
        (''SEC'')and which,alongwithanotherdocument,theMortgageLoan Purchase
        Agreement(''MLPA''),istheoperativesecuritization documentcreatedbythe
        financeand securitization industry to m em orialize securitizationstransactions.

                 33.W hentheplaintiffinthiscaseclosedonherpropertyzheroriginallender
         (orotherentity claim ingownership ofthenote)signedaPSA thatgoverned
         plaintiffsparticularm ortgagenotarfhepsA agreem ent,asdescribedinm oredetail
         below zdetailedtheclosingdatebyw hich thehom eow ner'sloan m ustbeNsold''to
         theREM lc,anddescribeexactlyhow thehom eow ner'snoteistofind it'sw ayfrom
         theoriginallenderto the REM lctrust.

                 34.AtypicalPsA callsforahom eow ner'snotetobetransferred atleastfour
         tim estodifferentkeypartiesbeforeitcom esintopossessionoftheREM lctrustee.
         Hereisachartdetailingthfltypicalkeypartyassignm entchainrequiredbyatypical
         PSA :

                 35.Aspartorthe process,the banksalm ostuniversally separated the
         m ortgagenotefrom thedeed oftrust.Underthecom m on law ztheow nerorthenote
         hasthe rightto paym entson the note,and the ow nerofthe deed oftrusthasthe
         rightto foreclose on thehom eownerifhom eow nerdefaultson the note,
         Traditionally,beforeinvestmentbanksbegan securitizing m ortgage notes,theholder
         ofthe note w ould universally hold the deed oftrust.Thism ade sense becausethe
         party w ith the rightto collectpaym entson the note w ould w antto be able to
         foreclose using the deed oftrustifthe hom eow nerdefaulted.



                 36.How ever,to streamlinethe securitization process,theinvestm entbanks
         createdanentitycalledmortgageElectronicRegistrationsSystem (''MERS''),who
         isoneofthedefendantsinthiscase.Theinvestm entbanks,inadditiontousing
         M ERS'electronicdatabase to track the btlying selling and assignm entsof
         securitizedmortgagenotes(bypassingthecountyclerks'offices),wouldtransfer
         deedsoftrust
Case Case
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         To M ERsptherebyseparatingthem ortgagenotefrom thedeedoftrust.M ERsw ould
         hold the deed oftrustforw hoeverlaterclaim ed to be the ''ow ner''ofthe
         hom eow ner'sm ortgage note.

                 37.PlaintiffIAMESBUCKMAN allegesthatDefendantszandeachofthem,
          cannotshow properreceipt/possession,transfer,negotiations,assignm entand
          ow nership oftheborrow er'soriginalProm issory Note and Deed ofTrust,
          resulting in im perfectsecurity interestsand claim s.

                 38.PlaintiffJAMESBUCKMAN furtherallegesthatDefendants,and each of
          them,cannotestablishpossessionand propertransferand/orEndorsementOfthe
          Prom issory Noteand properassignm entoftheDeed ofrrrustherein;therefore,
          noneoftheDefendants,andeach ofthem ,donothavetheabilitytoestablishthat
          m ortgagesthatsecuretheindebtness,orNotezw erelegallyorproperlyacquired.



                 27,PlaintiffIAMESBUC KMAN allegesthatan actualcontroversy has
          arisen and now existbetw een the Plaintiffand Defendants,and each ofthem .
          PlaintifflAMEsBucKMANdesiresajudicialdeterm inationanddeclarationofits
          rightsw ith regard tothe Property,especially becausetheMortgageand Notewas
          neversignedandthecorrespondingprom issorynoteandDeedofTrust,Plaintiff
          JAM ES BUCKMAN alsoseeksredressfrom Defendantsidentified hereinfor
          damageszforotherinjunctivereliefandforcancellationofwritteninstrum ents
          based upon:

                 a,An invalid and unperfected security interestin PlaintiffsHom eherein
          afterdescribed;

                 b,Void 'TrueSalets)violatingFLORIDA law andexpressterm softhe
          poolingand servicingAgreement(''PSA'')governingthesecuritizationofPlaintiffs
          m ortgage'

                 c.An incom pleteand ineffectualperfection ofasecurity interestin
          Plaintiffs Hom e;

                  TH ERE IS A BSOLUTELY NO LAN CASTER NOT E AT A LL

       BecauseLeroyW illiam sdidnotgototheclosingand didnotsigntheNOteStOLANCASTER
Case Case
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       BANK,so then the Note w asneverAssigned to M ERS,exh.c.
      Assignmentm ustberecordedwithin30daysF.5.494.00753.(3)ourAssignm ent
      W asRECORDED 1YEAR AND 5MONTHSAFTERTHESALE/CLOSING,TheAssignment
      conveyed,sold andsigned 10/20/05Recorded 03/21/27,exh.CBecauseMERS
       nevergota LegalAssignm entfrom Lancaster Bank becausetherew asno Leroy
      W illiam 'sM ortgage Notethatexhisted.soM ERSdidnotAssigntheM ortgageNoteto
       Deustch Bank W hfch show sthatan EVICTION would beILLEGALTHEFT OFTHIS
       PRopERTY,w eactuallyhavenorightstoow nproperty.here'sm oreprooflfM ortgage
       Noteisnotrecorded by lyeartheM ortgage Noteisvoid.ThisNotew asneversigned
       and nem erRecordedwith LeroyW illiamssignaturefrom 10/20/05untiltoday so
       M ortgage Note isvoid .And in violation ofF.S.695.01.and see:EXh.A.


      TheM ortgageNotehasaspaceintherightcornerofM ortgageNoteforthepreparedof
     theNotew herethenam eand post-officeaddressofthenaturalpersonw ho prepared
     theinstrum entorunderw hosesupervision itwasprepared arelegiblyprinted,type
     W rittenorstam ped upon such instrum ent;thisNote isvoid.And in violation of
     5.695.26(1)(b).F.)AndthentheNotewasconveyedillegallybyLancasterBankto
      MortgageElectronicRegistrationSystems(MERS)withnothirtydayoranynotice
     AsrequiredbyFloridawhichrendersNoteunenforceableandvoid.F.S.701,02 (11(2)(3).
      Noticerequirem ent-Theborrow erm ustbegivingls-3odaysnoticebeforenoteissold
      orassignedtoanotherentity,(RESPA Law 12 U.S.CODE52605)theMortgageNote
      signed 10/20/05andtheAssignmentwason thesameday ofSalewithoutrequired
      Noticealso in theoriginalfraudulentm ortgage notePAGE 11 num ber20 states
      thatthesaleofnoteorchangeofservicestheborrow m ustbegiven noticeaccordingto
      REspA law w hich is15to30days.ButthefraudulentAssignm entw assignedOct.20'h
      2005,exh.C.thesam edayasthefraudulentclosing,w rittenon thefrontpageofthe
      MortgageNote,exh.A.whichm akesthisAssignm entvoid.F.S.701.02(1)(2)(3).

    Assignm ents m ustbe recorded w ith in 30 daysaccording to Florida STATUTE
    494.0075,3(2)(34.ThisAssignmentwasrecordedtwoivearsaftersalewasillegally
    signedzexh,C,thisAssignm entistotallyvoid.lfAssignm entisnotrecorded by30
    daystheAssignm entisvoidaccordingtoFloridastatute6gs.ol.TheAssignm ent
   w assignedand notarized 0ct.20+2005butw asrecorded May21''2007, oneyear
Case Case
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    andsmonthslater.Exh.C.)(Mcleanv.lpMorgan)saysyoucan'tforeclosebefore
    youow ntheNote!TheAssignm entfrom M ERStO DeutscheBankisvoidbecause
    assignmentwasmadealerforeclosurestarted06/20/07,exh.M.andtheMERs
    AssignmenttoDeutscheBankwas08/22/07,exh.N.and(Mcleanv.lpMorgan).
    ILLEGAL FAKE NOTARY PUBLIC VOIDS 0W N ERSH IP 0N M ORTGAGE NOTE
    The Notary on the M ortgage Note isa VOID.The Notary stam p m ustcontain
    Com m ission orID num ber,toidentifytheperson ifneeded tovarifyorincourt,
    (OurMortgageNoteforlg77addresshasnocomm issionorlDnum berthat'sat
    airLegibletohidetheirthieveryseepagelsoftheM ORTGAGENoteofRecord.
    nviolationofF.s.117.05(3)(A)andF.5.695.26(1).ThisMortgageNotedoesnothave
    proofofidentityofsignerasrequiredinviolationofF.S.117.05#(5)and (S)(a)see
    exh.c.pagez.atm iddleofthepaper,TheNotariesnam em ustbeprintedundertheir
    signature,on 1977M ortgageNotetlleregnoprinted nam eundertheNotaryPublic
    ignature in violation ofthefakeAssignm enttoM ERS.lsvoid ofseeexh.C.Page2.
   F5.695.26(1)(D)(El.New lerseynotarystamprulesisthesameasFloridaruleszthe
   New Jersey notary of2005lookstotallydifferentfrom theFraudulentoneonour
   Mortgagenote,exh.P.andC.rfheStateofNew lerseyNotarystam ponourmortgage
   assignm entisaCOM EPLETLY M ADEUP FRAUD!Exh.c.page2.and isapunishable
   felony,5.775.082 775.08301-5,715,84.ILLEGAL FAKE NOTARY PUBUC VOIDS
   OW NERSH IP 0 N MORTGAGE ASSIG NMENT Musthaveatleastonewitness.There isno
   withwitnesson ourMortgageAssignmentin violation of,F.S.117.05(b)1.a.b.c.d.e.
   seeexh.c.pagez.theAssignm entisvoid.rrheNotaryontheAssignm entisafake.
   TheNotary stamp mustcontain com mission orID number,to identify the person
   ifneededtovari#orincourt,toui'MortgageNoteforlg77addresshasnocommission
    orID num bertohidetheirthieYeryinviolation ofF.S.117.05(3)(A)and
   F.S.695.26 (1).seeexh.C.PAGE 2.Thenam eofeach personwhoexecuted such
   instrum entislegibly printed,typew ritten,orstam ped upon such instrum ent
   im m ediately beneath the signature ofsuch person and the po,st-office addressof
   each such person islegibly printed,typew ritten,orstamped upon such instrument
   inviolation ofF.S.695.01(1)AND F.S.G95.26 (1)(a)and F..S.494.0075 (5)and
   F.S.701.02 (1)(2)(3)exh.A.
                   54.
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                   IFIRST CAUSE OF ACTION OUIET TITLE
        FLA.STATUE 95.11 CAL CODE CIVIL PROCEDURE 760.020


      NEW LY DISEOVERED EVIDENCE.AND FRAUD.FEDERAL RULE 60 (B)(2)(4)
     (6)AND Fla.R.ofCiv.Proc.1540 11QlSTANDING CAN BE QUESTIONED AT
     (7) ANYTIM E FEDEM L RULE 3.1 ThisistotalFraud,MERS and DeutscheBank
     (8) isbreaking aIlLawsto takeourproperty becausewcareblackin awhiteneighborhood
     ASsaid to us by a Deustche Bank Rep w ho said we whites don'twantBlacksin this

     Neighborhood and thepolice took myyachtbecause my Neighbor said he didn'tNiggers on
     Flcllê,
           .
           çin hisNeighborhood see Godsz.com video 10A
    sewlydiscovered evidenceand fraud,March 4t1l/01a,wewenttotheDadecounty
    recordsDepartm entbecausea1lMortgageNotesare Required to be Recorded w ith

    OriginalSignaturesF.S.701,02 (1)(2)(3)exh,A,and.W ediscoveredthattheLancaster
    MORTGAGENOTEhasabsolutelynosignaturesofthesocalledbuyer(LeroyW illiams)on
    NoteasRequiredby F.S.695,26 (1)(a),which causedmetosearch thewholerecordto
    discoverthatAl1Buyer's(LeroyW illiam's)SIGNATURESand INTIALSarea11Blacked0ut
    and theblacked outsignatureasshow n on godsz.com #1 showingtwo Dade County

    ClerksJoseSilvaID #311083andGuettyJean 1D # 217325behindTHEIR Clerk'sdesk
    behind protectiveglass,He'son Video red stamp the mortgageand saying the records

    dept.willnotRecord Mortgagesw ithouttheoriginalsignatureand She'son video after

    red stam ping and putting my paymentieceipton theCertified so called Leroy W illiam s

    showing MortgageNoteon Cam era,video show sblacked outinitialson Lancaster Note.

    Andtw om anageisoftheclerk'sofficesayingthere'snow aythisNoteshould havebeen

    puton Recordedw ithoutthesignature,seegodsz.coin #AA.andAB.andIrecordedthis
Case 1:19-cv-24184-MGC Document 43 Entered on FLSD Docket 08/07/2020 Page 20 of 92
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    allondocketforLeroyW illiam sthere'sno signed Mortgage,Prom issoryorPrepaym ent

    RiderRecorded in DadecountyxThereisnolostNotecountinDeustcheBankcom plaint

    andM ERsisnotlisted intheNoteasNom ineeoranythingatall,exh.A.W hich isw hythey

    did a Fake M ortgage Assignm entw hich included the Prom issory Note asstated on the

    bottom ofthe Assigned note from Lancaster Bank to M ERS exh.C.,signed by theVice

    PresidentofLancaster(DarlenePerera)thesameladywhoon theexactsam edateshe
    signed afakeAllongetoanotherBank called lndy M acBankbeforetheAssignm entto

    from LancasterBanktoM ERS,illegalseeexhibit.ccl-syou can'tGIYSaNotetotw o

   differententitiesespecially onthesam edate.Anddidnotrecord theassignm entuntil

    2007 lyearand sm onthsaftersaleoftheNotew hich m akestheNoteVoid according

   to F,S.exh,C,Allow ing anunsigned M ortgageNoteto beRecorded inFloridaw hichisa

    Felony,F.S.817,2341and775.082,775.083and 77s.o84.Andareallforgeriesthatcan

   alm ostbeseenundertheblacked outinkwhen com paringthatsignaturetotheother

   signaturesoftheothernotesw iththecorrectsignature seetheplaintiffsLancster's

   RecordedNoteshow sNotehasaw rongforgedsignaturethatyou canseeunder

   theblackedoutsignature,exh.A.ThisisthecorrectLerovW illiam 'srealsignature

   from theothernotefrom realRecoided NoteofLerovW illiam 'sothernronertv.From a

    realClosinzs,seepgs.16and Z0 of,exh,Bland B2,And Flam ingo Title Com pany w as

   sued byAttorneyTitleInsuranceCo.Because ofm oneygiven butnoNote,exh.F,.find

    novalidW arranty DeedbecauseAlexanderM oreraw asnotthereand didnotsignthe

   W arranty Deed/exh.G.oneoftheow nersofthehom e1977 nellgthroad M iam i33181,

   Jam esBuckm anwasnotattheclosing,seeaffidavitexb.H.andJamesBuckm andidnot
   signanythingasitAppEARED onthefakeW arrentyDeedzexh.G.seelamesBuckman's
     realsignatureon ilriverslicense,exh.H2.Someoneillegally signedforJamesBuchman.

                                              15
Case Case
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    SeeAffidavitfrom MauriceSymonetteanotherownersayingthathe(Mauricejwastheir
    attheAngrywiped outnon closingandwitnessedthatJamesBuckman,TannerCarter,
    AlexanderM oreranordid Leroy W illiam sshow up to the closing and theW arranty Deed

    wasnotsigned,seeexh.L.Affidavitfrom JamesBuckman stateingthathewasnotatthe
    closing so therew asno LegalW arranty filed on theRecord!So paym entscontinued to

    Bank,exh.SP,S2,S3.and then EM C M ortgage Bank EM C.M ortgage co.w rote and said

    m ake allpaym entsto INDY M AC BANK     h T.And Paym entsw ere m ade on tim e even

    sixmonthsafterDeutscheBank Foreclosurewasstarted06/20/2007,exh.M.See
    receiptsshowingpayments06/19/07to09/29/074monthsafterDeutscheBank
    oreclosure started exh.K1,K2,K3,K4.And unknow n Bank.Deustch Bank Lis

    Pendance date filed w ith no Due Process Notice to us,see page 11 ofDade Docket

    exh.0.This filed w hile Paym ents w ere stillbeing m ade and on TIM E,exh.

    And notice the Note blacked outthe Loan N um berso thatyou could

     notcheck it,exh.A.they also m ade big m istake and show ed thatLancaster

      Bank A llonged the N ote to lndyM ac B ank FSB,Exh.F.So the only Bank

      then thatcould sellorAssign theLancasterN ote to M ERS islndyM acBank,

      ofcoursethiswasneverdone.Because Lancasterw ithoutN ote ownership

      sold theN OTE illegally to M ERS w ho then illegally A ssigned theN oteto

      DEU TSCHE BAN K butafterthey started The Foreclosure law suit,see exh.

       Q.andexh.E3,whichisalsoillegalaccordingtoM cleanVs.JpM organ.This
       R, isa totally a m adeup Foreclosure thievery w ow .

    LA N CASTER M ORTGA GE BAN KERS,LLC m ay have or claim an interestin the property that

    isthesubjectOfthisForeclosureactionbyvirtueofam ortgagerecorded in official
                                                16
CaseCas
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    Records Booh 23966,Page 3483,orm ay otherw ise claim an interestin the property.

    PirstComm ercialCORP,mayhaveorclaim an interestinthepropertythatisthesubject
    ofthe foreclosure action by Virtue ofA Fake M ortgage.



    2.Theinterestofeach Defendantaresubject,Subordinateand inferiortotheright,title,
    interestand Iien ofplaintiffsm ortgagew ith the exception ofany specialassessm ents

    thataresuperiorPursuantto FloridaStatues159 (2006),and Florida Statues170.09
    (2006)

     3.SEC May have an interestin the property as evidenced by DEUTSCHE Bank
     NATIONAL TRUST C0.AS TRUSTEE UNDER THE POOLINGAND SERVICING AGREEM ENT

     SERIESRAST 2006-A8 (CSFB),C/0 OCW EN ATTN:VaultDept.57Z0Prem ierParkDrive,
     W estPalm Beach,FL.,33407havingthe note on the SEC stocks orbonds m arketsothey m ust.
                                                                                          ALS0 IF
     LANCASTER W AS ACTUALLY A NOTE

      OnoraboutMarch1,2006(hereinafterreferredtoasvclosingDate'
                                                              ')Plaintifflames
    Buckm anw hoow nsthehousethatw asow nedbyLeroyW illiam sw how assupposed

    toenterintoaconsum ercredittl'ansaction w ith LANCASTER M ortgageBankLluc BY

    OBTAINING A $1.5millionmortgageloansecuredbyaFirstTrustDeedon theProperty

    in favorofLancasterLLc.ButthesAl,E NEVER HAPPENED THE MAKE loanonthehouse
CaseCas
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    wassecuritized,w ith theNoteand notbeingproperly transferred to Defendant,Deutsche

    Bank,acting asthe Trustee forthe LANCASTER M ortgage Bank LLC,holding plaintiffs

    note.Docum ents filed w ith the SEC by the securitization participantsallegedly claim

    thatthenoteanddeedoftrustatissueinthiscasew eresold,transferredandsecuritized

    by Defendants,w ith otherloansand m ortgagesw ith aggregate principalbalance of

    approximatelysl.sm illionintoLANcAsrrEllMortgageBanklaLcBalanceofcocrfrust,

    w hich isacom m on law Trustform ed pursuanttoNew Yorklam Adetailed description

    ofthe m ortgage loansw hich form the LANCASTER M ortgage Bank LLC isincluded in

    Form 42485(''TheprospectusM),whichhasbeendulyfilledwiththesEcandwhichc

    an be accessed through the above m entioned footnote.


    Anexpertcertified,forensicauditofthePlaintiffsloandocum entsrevealsthatPlaintiffs
   m ortgagenotew asrequired toatleastgothrough thisassignm entchain ofkeyparties
   beforeitreached theREM IC trusteeitw asdestined for:The PlaintiffsPSA requiresthat
   his/hernoteordeedoftrusthadtobeendorsedandassigned,respectively,tothetrust
   andexecuted bym ultipleintervening partiesintheabovechain ofassignm entbefore
   itreached the REM IC Trustee.
   Plaintiffexecutedaseriesofdocum ents,includingbutnotlim itedtotheNoteandDeed
   ofTrustzsecuringthepropertyintheam ountoftheNote.TheOriginalbeneficiaryand
   nom inee underthe Deed ofTrustw asm ers,
   Plaintiffisinform edandbelieves,andthereonalleges,thatthepurchasem ortgageonthe
   property,thedebtorobligation evidenced bytheNoteandthedeedofTrustbyplaintiffin
   favorofthe originallenderand otherDefendants,regaitding the Property,w asnot
   properlyassigned and transferred to Defendantsoperating the pooled m ortgage fundsor
   trustsinaccordancewiththePsAand/orFLORIDA layofentitiesmakingandreceiving
   thepurportedassignm entstothistrust.lnaccordancewiththepsAand/orFLORIDAIaw

                                                18
CaseCase
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   ofthe entitiesm aking and receiving the purported assignm entsto thistrust,
   Plaintiffallegesthatthe PSA requiresthateach NoteofTrusthad to endorsed and
   assigned,respectively,tothetrustand executiveby m ultipleinterviewing partiesbefore
   itreached the Trust.Here,neitherthe Note northe Deed ofTrustw asassigned to the
   SecuritizedTrustbyclosingdate,Therefore,underthepsA/anyassignm entsoftheDeed
   ofTrustbeyond thespecifiedclosingdatefortheTrustarevoid.Plaintifffurtheralleges
   thateven iftheDeedofTrusthad beentransferred intothetrustbytheclosingdate,the
   transaction isstillvoid asthe Notew ould nothave been transferred according tothe
   requirem entforthe PSA,Sincethe PSA requiresa com pleteand unbroken chain of
   transferand assignm entstooand from each intervening.Plaintiffinform ed and believes,
   andthereonalleges,thattheLANcAsTERM ortgage         Bank LLC had no officersor
   directorsand nocontinuingdutiesotherthan to hold assetsand to issuetheseriesof
   certificates ofinvestm entin m ortgage backed securitiesin theprospectus.
   Identified herein below .detailed description ofthem ortgageloans,which form the duly
   filledw ith theSEcandW hich can beaccessedthrough thebelow m entioned footnote.


        Plaintiffisinform ed andbelieves,thatDefendantsDeutschebankzallegesthatitis
        the ''holderand ow ner''oftheNoteandthebeneficiary oftheDeedofrrrust,How ever,
        the Note and Deed oftrustidentify the m ortgage and notholderasthe original
        lenderallegedly sold the m ortgage loan to LANCASTER Mortgage Bank LLC
        Plaintifffurtherallegesthatnodocum entsorrecordscan beproduced thatdem onstrate
       thatpriorto theclosing date forLANCASTER M ortgage Bank LLC the noteduly
       endorsed,transferred and dtllivered to LANCASTER M ortgageBankluLcincludingall
       interview ing transfers.Norcan any docum entsorrecordsbe produced that
       dem onstrate thatpriorto the closing date,the Deed ofTrustwas duly assigned,
       transferredanddeliveredtOLANCASTERM OIV ageBankLLcincludingallintervening
        assignm ents.


         Plaintifffurtherallegesthatanydocum entsthatpurportanyinterestintheNoteto
         LANCASTER M ortgage BankLLcaftertheTrustclosingdatearevoidasam atterof
         law,pursuantto NEW YORK triistlaw an.d relevantportionsofthe PSA.
Case Case
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    PlaintiffJAMESBUC KMAN'SLeroyW illiams)debtorobligation did notcomplywith
    New yorklaw,and/orotherlawsandstatues,and/thuszdonotconstitutevalidand
    enforceable ''TrueSale.''Anysecurity interestin the Property w as,thus,never
     perfected.TheallegedholderoftheNoteisnotthebeneficiary oftheDeedofTrust
    Thealleged beneficiary ofplaintiffsDeed ofTrustdoesnothavetherequisitetitle,
     perfectedsecurityinterestorstandingtoproceedinaforeclosure;and/ornotthe
     realparty in interestw ith regard to any Action taken to betaken againstthe
     property.
     PlaintiffJAMESBIJCKMANSisalsoinformedandbelieve,andthereonallegesthatat
    alltim esherein m entioned,andanyassignm entofaDeed ofTrustw ithoutproper
    transferoftheObligation thatitsecuresisalegalnullity.


    In orderfortheTrustee ofthe securitized trustto have a valid and enforceable
    secured claim againstPlaintiffsHom e,the Trustee m ustprove and certify to all
    partiesthat,am ongotherthingsrequired underthePsA:There wasa com plete and
    unbroken chainofendorsem entsandtransfersoftheNotefrom andtoeachparty
    tothesecuritizationtransaction(whichshouldbefrolntheAMortgageoriginator
    toth e(B)Sponsortothetc)Depositortothe(D)Trust/rfrustee,antithatallthese
    endorsementsandtransferswerecompletedpriort()theTrustclosingilates(SeeDiscussion
    below);andTheTrusteeoftheSecuritizedTrusthadactualphysicalpossessionof
    theNoteatthatpointintim eyw henallendorsem entsandassignm entshadbeen
    completed.AbsentsuchprootPlaintifflAMEsBUCKMANallegesPlaintifflAMEs
    BUCKMAN'SHomethatistheSubjectofthisaction.
     Therefore,iftheDefendantszandeachofthem didnothold andpossesstheNoteon
     orbeforetheclosingdateofTrustherein,theyareestopped and precluded from
     asserting any secured orunsecured claim in this case
         PlaintiffJAMES8UCKMAN isinformed andbelieves,andthereonalleges,that
         pursuanttothetermsofthePSA,theMortgageOriginator(i.e.,theoriginallender
         herein)agreedtotransferandendorsetotheTrusteefortheSecuritizedtrust,
         withoutrecourse,includinga1lintervening transfersand assignm ents,a1lofitsright,
         titleandinterestinandtothem ortgageioan(Note)ofPlaintiffJAM ESBUCKMAN
         hereinandallotllerm ortgageloansidentifiedinthePSA.PIaintiffJAMESBUCKMAN
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CaseCase
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         isfurtherinform ed andbelieves,andthereonalleges,thatthepsA pro idesthatthe
         transfersandâssîgnm entsareabsolutezweremadeforvaluableconsideration,to
        w itpinexchangeforthecertificatesdescribed inthePSA,andw ereintendedbythe
         partiestobeabonafideor''Truesale.''Since,asallegedherein below /Truesalesdid
         notactuallyoccur,PlaintiffallegesthattheDefendantTrusteesareestopped and
         precluded from asserting any secured orunsecured claim in thiscase.


        PlaintiffJAMESBUCKMAN isfurtherinformedandbelieves,andthereonalleges,that
        asaresultofthePsA andotherdocum entssignedunderoath inrelationtheretothe
        M ortgage Origitlator,sponsorand Depositorareestopped from claim ingany interest
        intheNotethatisallegedly securedbytheDeed ofTruston PlaintiffJAMES
        BUCKM ANS Hom eherein,


       29.           PIaiIZUITJAM ESBUCKMAN isinformedandbelieve,andthereonallege,
 thatthe Note in thiscase and the otherm ortgageloansidentified in thePSA,w ere never
 actually transferred and delivered by the M ortgage Originatorto the Sponsororto the
 Depositorfrom the DepositortotheTrusteefortheSecuritizedTrust.PlaintiffJAMES
 BUCKM AN furtheralleges,on inform ation andbelief,thatthePsA hereinprovidesthatthe
 M ortgage Filesofthe M ortgagesw ere to be delivered to LANCASTER M ortgage Bank LLC
 w hich M ortgageFilesincludetheoriginalDeedsofTrust,herein.Basedupontheforegoing,
 PlaintiffJAM ESBUCKMAN isfurtherinform ed andbelieve,andthereon allege,thatthe
 follow ingdeficienciesexist,inthe''Truesale''and securitization processastothisDeed of
 trustwhirhrendersinvalidanysccurfl interestintheplaintifflAMEsBucKMANsm ortgage,
 including,butnotlim ited to:


        a Thesplittingorseparationoftitle,ownershipandinterestinPlaintifflAMEs
  BucKMANsNoteandDeedorTrustofw hichtheoriginallenderistheholderzow nerand
  beneficiaryofPlaintiffJAMESBUCKMAN'SDeedorrrrust;
         hW hentheloanwassoldtoeachinterviewingentilptherewerenoAssignments
  oftheDeed oftrusttoorfrom anyinterview ingentityatthetim eofthesale.Therefofe,
  ''True Sales''could notand did notocctlr;
           Thefailuretoassign and tryusherthebeneficialinterestin PlaintiffsDeed ofTrust
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 to Deutsche Bank,in accordance w ith PSA ofthe Defendants,asSecuritization Participants;


       d thefailuretoendorse,assignandtransferplaintifflAMEsBucKMANs
 NOTEAND/OR mortgagetoDefendantBank,asTrusteeforLANCASTER Mortgage
 Bank LLC
       E.No Assignm entsofBeneficiary orendorsem entsofthe Noteto each ofthe
 intervening entitiesin the transaction everocrurred underFloridaLaw,w hich isconclusive
 proofthatnotruesalesoccurred asrequired underPSA filed w ith theSEC;and


       F.Defendants,and each ofthem ,violated thepertinentterm softhePSA.
            30.PlaintiffIAMESBUCKMAN,therefore,alleges,uponinformation andbelief,that
            neitherthesecuritization transaction,norany oftheDefendants il1thiscase/hold a
            perfected and secured claim in the Property;and thatallDefendantsnl'eestopped and
            precludedinsertinganunsecuredclaim againstPlaintiffJAMESBUCKMAN'Sestate.


              31.      Theterm softhe financetransaction with LANCASTER M ortgage Bank
      LLcarenotclearorconspicuous,norconsistent,and areillegalw hichviolatesseveral
      statuesand is in essence createsa fraudulentand unenforceableloan.further,this
      loanw asunderw rittenw ithoutproperduediligencebyLANcAsTERM ortgageBank
      LLC asevidenced by theirfai!ure to verify borrow er'sincom e utilizing signed IRS
      Incom erraxDisçlosureEorm 4so6erwhichw ould haveprovided pastborrow ertax
      returns.LANCASTER M ortgage Bank LLC also used a''GDW CostofSavings''asthe
      Indexforbasisofthisloan.BecausetheLendercontrolsthislnderanditisdirectly
      based upon the parentcom pany itw asnota valid index forthe basisoftheloan.


              32.      Inaddition,andunbeknownsttoplaintifflAMEsBUCKMAN,INDY
      MAC BANK,EM C M ORTGAGE BANKERS LLC knew orshould have know n that
      PlaintiffJAMESBUCKMAN couldnotqualifyfororafford by,forexamplethe
      underw riterhasapproved thisloan basedupon creditscoresandtheborrow er's
      Statedlncom eonlyHadLANCASTER MortgagebankLLcusedam oreaccurateand
      appropriatefactor,suchasTaxForm sandam oredeterm inativeleverofscrutinyof
      determiningcomplywiththerequirementtoprovidePlaintiffIAMES8UCKMAN
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      w ith a M ortgage Loan Origination Agreem entthe debtto incom e ratio,Plaintiff
      JAMESBUCKMAN withaMortgageLoanOriginationAgreementthedebttoincome
      ratio,PlaintiffJAMESBUCKMAN W ITHA MORTGAGE LOAN ORIGNATION
      Agreementthedebtincomeratio,PlaintiffJAMESBUCKMAN would nothave
      qualifiedfortheloaninthefil'stplace.consequently,LANCASTER M ortgageBank
      LLCSOLDPLAINTIFFJAMESBUCKMAN aloanproductthatitknew orshouldhave
      know n w ould neverbe ableto be fully paid back by Plaintiff

       JAMESBUCKMAN,

       55. Additionally,Defendantsand each orthem ,neitherexplained the
        workingsofthe entire mortgageloan transaction,how the rates,rinance
        chargeszcostsandfeesw erecom puted,northeinherentvolatilityofthe
        loan productsprovided by defendants.


        56. The purpose ofentering into the above-described m ortgage loan
 transactionswasforplaintifftoeventually ow ntheProperty.Thatpurposewas
 know ingly and intentionally thw arted and indeed m ade impossible by Defendants
 com bined actionsasalleged herein.


            PlaintiffJAMESBUCKMAN'Stitletotheabove-described property is
 derivedasfollows:onoraboutMarch1,2006(hereinafterreferredtoas/'closing
 Date'')LeroyW illiamswethoughtenteredintoaconsumercredittransactionwith
 LANCASTER M ortgage Bank LLC by obtaining a $2,600,000.00 m ortgage loan
 secured now by PlaintiffJAM ESBUCKMAN'Sprincipalresidence,(Subject
 Property).ThisnotewasthoughttobesecuredbyaFirstTrustDeedonthe
 Property in favorofLANCASTER Mortgage Bank LLC
     58. AllDefendantsnam ed herein claim an interestand estate in the
  propertyadversetoplaintiffinthatdefendantassertshe'sistheow nerofthenote
  secured bythedeed oftrusttothepropertythesubjecto/thissuit.
     59.AllDefendantsnam edhereinclaim salzinterestalldestateinthepl'opertyadverseto
     plaintiffJAMES8UCKMAN inthatdefendantassertsheis

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       Theclaim ofalldefendantarewithoutanyrightwhatsoever,anddefendantshavenoright,
       estate,titlelien orinterest in or totheproperty,orany ofthe property.

      60, Theclaim ofalldefendantsherein nam ed,and eachofthem ,claim som eestate,
right,title,lienorinterestinortothepropertyadversetoPlaintiffJAMESBUCKMAN stitle,
and these claim sconstitute a cloud on plaintiffstitleto the property.


      61, PlaintiffJAMESBUCKMANS,therefore,allege,upon information andbeIief,thatnone
ofthepartiestoneitherthesecuritization transaction,noranyoftheDefendantsinthiscase,
hold aperfected and securedclaim intheproperty;andthatallDefendantsareestoppedand
precludedfrom assertinganunsecured claim againstPlaintifqAMEsBUCKMANSestate.

       62, PlaintiffJAMESBUCKMAN requeststhedecreepermanentlyenjoinandallpersons
claim ingunderthem ,from asserting anyadverseclaim to plaintiffstitletotheproperty;and


       63. PlaintiffJAM USBUCKMAN requestthecourtaward plaintiffcostsofthisaction,and
 such otherreliefasthe courtm ay deem proper.


         B,nefendantM ERSrannotbe a RealPartv in lnterestin a Securitized m orteaee


       64. SincethecreationofplaintifflAMEsBucKMAN'sNotehereinandDeedofTrust,
 DefendantM ERS w asnam ed the ''beneficiary''ofthe Deed ofTrust.


        65. Plaintiffisinformed and believes,and thereon alleges,thatDefendantsMERs lacks
   theauthorityunderitscorporatechartertoforecloseam ortgage,ortoow nortransferan
   interestinasecuritized m ortgagebecauseM ERscharterlim itsM ER'spow ersanddutiesto
   functioning aselectronicregistration system ofcertain typesofsecurities.


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             66.PlaintiffJAMES BUC IIMAN iS inforined and believes,and thereon
       alleges,thatin orderto conductaforeclosure action,a person orentity m usthave

       standing.



              67.PlaintiffJAMES BUCKMAN isinformed and believes,and thereon alleges,
       that pursuant to New York law ,to perfect the transfer ofm ortgage paper as

       collateral,theow nershould physically deliverthe note to thetransferee.W ithout

       physicaltransfer,the sale ofthe note is invalid as a fraudulentconveyance oras

       unperfected.



              68.The note is this action identifies the entity to w hom itw as payable,the

       originallender.Therefore.theNoteherein cannotbetransferred unlessitisendorsed;

       theattachm entstothenoticeofdefaultdonotestablishthatendorsem entsw erem ade,

       norarethere any othernoticesw hich establish thattheoriginallenderendorsed and

        sold the note to another party.



              69.Furtherm ore,insofarasthe partiesto the securitization ofPlaintiffJAMES
        BUCKMAN'S Note and Deed ofTrustbase theirclaim thatthe Note w astransferred or

        assignedtoDefendantDeutscheBanktheTrusteeoftheSecuritizedMortgageherein,by
        theoriginallender,itiswellestablished statelaw thattheassignm entofaDeed ofTrust

        doesnotautom atically assign theunderlying prom issory noteand righttobe paid and

        the security interestisincidentofthedebt,



              70. Pursuanttostatelaw ,t()perfectthetransferofm ortgage papersascollateral
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       for a debt,the ow ner should physically deliverthe note to the transferee.W ithout

       physicaltransfer,the sale ofthe note is invalid as a fraudulent conveyance,or as

       unperfected.The Note herein specially identifiesthe party to w hom itw aspayable to

       and the Note,therefore,cannotbe transferred unlessitisendorsed .



              71.Defendants, and each of them , cannot produce any evidence that the

       Prom issory Note has been transferred;therefore,,DefendantM ERS could Only transfer

       whateverinterestithad in theDeed oferrustherein.the Prom issory Noteand Deed or

       Trustare inseparable:an assignmentofthe Note carriesthe mortgageti.e.,Deed of
       Trust)withit,whileanassignmentoftheDeedofTrustaloneisanullity.Therefore,if
       oneparty receivesthe Noteand anotherparty receivesthe Deed ()fTrust(asin this
       caselztheholderoftheNoteprevailsregardlessoftheorderinwhichtheinterestwere
       transferred.



              69.Defendants M ERS has failed to subm itdocum ents authorizing M ERS,as

        nom inee forthe originallender,to assign the subjectm ortgage to the foreclosing
        trustee.Hence,M ERS lacked authority asm ere nom inee to assign Plaintiffsm ortgage,

        m akingany assignm entfrom M ERsdefective.



              70.Intheinstantaction,M ERS,asthenom inee notonlylacksauthority toassign

        the m ortgage,but cannot dem onstrate the Trustee's know ledge or assent to the

        assignm entby M EHS to the foreclosing trustee,




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               71.Any attem ptto transferthebeneficialinterestofatrustdeedw ithoutactual
        ow nership ofthe underlying note,isvoid underlaw .Therefore,Defendant,M ERS,
        cannotestablishthatitisentitled toassertaclaim inthiscase.Forthisreason,asw ell
        astheotherreasonssetforth herein below ,M ERscannottransferan interestin real
        property,and cannotrecoveranything from Plaintiff.


               72.Defendants,and eachofthem ,through theactionsalleged above,haveor
        claim therighttoillegallycom m enceforeclosureundertheNoteonthepropertyviaa
        foreclosure action supported by false orfraudulentdocum ents.Said unlaw rul
        foreclosureactionhascausedandcontinuestocausePlaintiffsgreatandirreparable
        injuryinthatrealproperty isunique.FLA.STATU E 95.11CALCODE CIVIL
        PROCEDURE 760.020,Plaintiffsseeksto quiettitle againstthe claim softhe
        Defendantsandallpersonsclaim inganylegalorequitable righttitle,estate,lien,tll-
        adverseinterestinthepropertyasofthedatethecomplaintwasfiled(FL.statute
        gs.llcalcodecivilprocedure760.0204.Plaintiffsisthetitleholderoftheproperty
        according to theterm s ofagrantDeed Dated Sept.07,14,2006.
        LancasterBank securitized plaintiffssingle-fam ily residentialm ortgageloan by Selling
        theNoteasasecurity onthe stockm arket.Plaintiffisinform ed and believesthatthe
        unlaw fulbeneficiary hasbeen paid infull.Them ortgagestatesin paragraph lender
        shallrequesttrustee to reconvey the property and shallsurrenderthissecurity
        instrum entandallNotesevidencingdebtsecuredthissecurityinstrum enttoTrustee
        Trusteeshallreconvey theproperty withoutwarranty totheperson orpersonslegally
        entitledtoit...M ortgagedoesnotstatethatPlaintiffm ustm akeafullpaym ent,only
        thatallsecured sum sm ustbepaid,Plaintiffallegesthatthe obligationsow ed to
        Lancasterunderthe m ortgage w ere fulfilled and the loan w asfully paid w hen
        Lancasterreceived fundsin excessofthe balance on the NOTE asProceeds ofsale
        through securitizationts)oftheloanand insuranceproceedsfrom creditdefault
        sw aps.W e know thatM ERS w asused to sellthe NOTE in a bundle of5000 other
        NorrEsontheM arketunendorsed soastobedbleto sellitoverand overagain w ith
        each investorbelieving heow nsthe Noteand to stopinvestoisfrom goingafterand
        collecting on the investm ent.


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               73. Reconveyanceupon paym entofallsum ssecured bythissecurity
         instrument,FLA.STATUE 95.11 CAL CODE CIVIL PROCEDIJRE 760.020Plaintiff


              74.Kelley v.U pshaw,39 Cal.2d 179,192,246 P,2d 23 (1952);Hydev.
         Mangan,88 Cal,319,327,26P,180 (1891);Polhemusv,Trainer,30Cal.685,688,
         1866W L831(1866).SeeJohnsonv,Razey,Cal.342,344,184P,657(1919).

               75.Thew rongfulconductoftheabovespecified Defendantsandeachof
         them,unlessrestrainedandenjoined byanorderoftheCourtwillcontinueto
         causegreatand irreparableharm to Plaintiff.Plaintiffw illnothavethebeneficjal
         useand enjoym entofitsHomeandwilllosetheproperty.

               76. Plaintiffhasno otherplain,speedy oradequate rem edy and the
         injunctivereliefprayed rorbelow isnecessaryand appropriateatthistimeto
         preventirreparable lossto Plaintiff.Plaintiffhassurfered and w illcontinueto
         sufferinthefutureunlessDefendantswrongfulconductisrestrainedandenjoyed
         becauserealpropertyisinherentlyuniqueanditw illbeim possibleforplaintifRo
         determ inethe precise am ountofdam age itw illsuffer.
                            SECOND CAUSE OF ACTION SLANDER OF TITLE


                     PlaintiffJAMESBUCKMAN re-allegesand incorporatesby
         referencea1lpreceding paragraphsasthoughfullysetforth herein.


                78. PlaintiffJAMESBUCKMAN incorporateshereeachandevery
         allegation setfbrth above.
                79. Defendants,andeachofthem,disparagedPlaintiffJAMESBUCKMAN'S
         eKclusivevalid title by and th rough the preparing ,posting,publishing,and
         recording ofthe docum entspreviously described herein,including,butnotlim ited
         to ,the Notice ofDefault,NoticeofTrustee's Sale,and Tiustee'sDeed.
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               80.Said Defendantsknew orshould have know n thatsuch docum ents
        w ereim properinthatatthetim eoftheexecutionanddeliveryofsaiddocum ents
         Defendantshadnorightptitle,orinterestintheProperty.Thesedocum entsw ere
         naturallyandcom m onlytobeinterpreted asdenying,disparaging,andcasting
         doubtupon Plaintiffslegaltitle to the property.By posting,publishing,and
         recordingsaiddocum ents'disparagem entofplaintiffslegaltitlew asm adetothe
         w orld atlarge,

               81.Asadirectand proxim ateresultofDefendantsconductin publishing
         thesedocum ents,PlaintiffJAMESBUCKMAN'Stitleto theProperty hasbeen
         disparagedandslandered,andthereisacloudonPlaintifflAMEsBUCKMAN'S
         titlewhich wasobtained by quitclaim deedon 1/01/2007seeexhibitand
         Plaintiffhassuffered,and continuesto suffer,dam agesin an am ountto be
         proved attrial


               82.AsafurtherpioKimateresultofDefendantsconduct,PlaintiffJames
         Buckm anhasincurredexpensesilAordertocleartitletotheproperty.M oreover,
         theseexpensesarecontinuing,andplaintifflam es8uckm anwillinctlraddition
         charge forsuch purpose tntilthe cloud on Plaintiffstitleto the property has
         been rem oved.The am ountsoffutureexpenses and dam agesare not
         ascertainableatthisAsa furtherdirectand prollim ate resultofDefendants
         conduct,PlaintiffJam esBuckmanhassuffered humiliation,mentalanguish,
         anxietyzdepression,and em otionaland physicaldistress,resulting inthelossof
         sleep andotherinjuriestohisand herhealth and well-being,and continuesto
         suffersuchinjuriesonan ongoingbasis.Theamountofsuch damagesshallbe
          provenattrial.Atthetim ethatthefalseanddisparagingdocum entsw erecreated
          and published by the Defendants,Defendantslfnew the docum entsw ere false
          andcreatedandpublishedthem withthemaficiousintenttoinjuretoPlaintiff
          Jam esBuckmananddeprivethem oftheirexclusiverighttitle,andinterestinthe
          Property,and to obtain the Property fortheiroivn

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        useby unlaw fulm eans.TheconductoftheDefendantsin publishing the docum ents

        described above wasfraudulent,oppressive,and m alicious.Therefore,Plaintiff

        Jam esBuckmanisentitledtoanawardofpunitivedamagesinanamountsufficient
        topunishDefendantsfortheirm aliciousconductanddetersuchm isconductinthe

        future.




          THIRD CAUSE OF ACTION:THE BANK VIOLATED THE THIRTY-DAY NOTICE
          RIILETHAT sAY5 BANK M UST GIVE W HEN THEY SALE OR ASSIGN THE NOTQ
                    AND CASE M VST BE 9ISM ISSE: FLA STAT.559.715


               83.Theplaintiffm ustgivew ritten noticew ithin 3odaysoftheassign

         m entFla.courtshavedem anded strictcom pliancew iththeStatuteandhave

         heldthattherequired noticeisa conditionpresidentto aDebtcollectionaction

         predicated uponanassignm entseeLvNYFunding LLC.v,HarrisFla.LW eekly

         Supp,C23(Fla.IICIR.CourtJune242009)whereinthecourtFoundthatthe
         Plaintifffailedtocomply with thewrittennoticeofprovisionofF.S.5559.715
         andthereforedismissedtheactionwith prejudice)accordinglytheplaintiffhas
         neverprovided the Defendantthe m andatory 30 day ofassignm entthe case

         should also be dism issed forfailure to com ply with am andatory condition

         precedence,LancasterBankLlac Assigned wrongfullytheNotetoM ERsonthe

         sam edaythe fake Closing w asdoneand onlydoneasanexhibit,seeexhibitF2,

         and notapartoftheAssigrm ent.So M ERSw asneverthe ow nerand the

         Deutsche Bank Assignm entfrom M ERS isVoid Com pletely andM Elksthus

         causingPlaintiffsto sufferanim pairedanddefective Title,plaintiffsasked for

         Dam ages.
Case Case
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                   VIll.FOURT H CAUSE OF ACTION -UNIUST ENRICHM ENT
                               FLORIDA STATUE 697.10

              84. Deutsche bank has no interest in Plaintiffs
         M ortgage,so the foreclosure on Plaintiffs property w ould
         constituteunjustenrich m ent.Them ortgagestatesthatall
         secured sum s m ustbe paid.Plaintiffallegesthatthe
         obligations underthe m ortgage w ere fulfilled w hen Deutsche
         Bank received funds in excess ofthe balance on the N OTE as a
         result ofproceeds ofsale through securitization to private
         investors m any tim es and insurance proceeds from credit
         defaultswaps.And they havea property freeand clearto just
         sale and keep allthe M oney


                    FIFTH CAUSE OFACTION -RESPA AND TILA VIOLATIONS
                                  RESPA 12 II.S.C.2605




               85. DeutscheBankN.A.anditsagentsm adem aterialm isrepresentations

         andom issionsw ithrespecttotheterm sofPlaintiffs loaninviolation ofthe

         Truth In LendingAct(TILA).Plaintiffsisinform edand believesthat
         Lancaster8ank concealedtheterm softheloanw iththeintentionofinducing

         Plaintiffstorefrain rrom investigating and challenging the disclosuresuntilthe

         period forrescinding thefake loan expired.

               86. Plaintfffsneverw entto any closing to receiveany docum entsfrom
         Lancaster8ank ata FloridaTitle Com pany,including disclosuresrequired by
         theTruth in LendingAct,RESPA,and anoticeofrighttocancel.


               87. Plaintiffsloanwould havebeenam ortgageloansubjecttotheprovisionsof
               88.RESPA,IZU.S.C.2605 et.seq.and Cal.financialCodej505()5,
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       BUT IFW ESAW THEREQUESTED INFO W E W OULD HAVE SEEN THAT DEUTSCHEBANKW AS
        REPRESENTING THAT THEY W ERE FROM LANCASTER BANK N0T COUNTRY W IDE BANKAND

       W E W OULD CAUGHT 0N T0 THE FACT THAT W E NEVER CLOSED THAT LOAN W ITH LANCASTER

        BANK AND THEY W OULD HAVE BEEN DESTROYED LIKE THE NEW FBICOM M ERCIAL SAYS

        THAT FRAUD ISTRICKSTERS JUST SIGN YOUR PROPRTY OVER T0 THEMSELVES(DEUSTCHE
        BANK)AND,FORECLOSE AND EVICT Y0U W HILEYOUR MAKING PAYMENTST0 ANOTHER

                        BANK 0n Oct.12,2012,Plaintifbr usewe wem tricked into
          believingthat we requested acopyoftheloanapplication and Prom issory Note
          ataMiamibranch of Defendantsin Florida,y1bank0CR ccrtelephoned a
          LANCASTER Mortgage Bank LLC office in Florida thatwe thoughtwasland
          inform ed Plaintiffthathewould receivetheloandocum entsintendays.No
          docum entshave everbeen received.Becausethey knew they didn'thavea
          signed note and m ortgage and they knew thoughtthatLancasterand
          DEUTSCHE BANK NATJONALTRUSTwaSIndyMacasservicertoCOUNTRY
          W IDE BANK the Bank wew ere making paym entsto aftertheLANCASTER BANK
          didn'tcloseonfailed.So DEIJTSCHE BANK NATJONALTRPST trickedusinto
          thinkingthey werethebank wew asto askthe questionsto aboutthe
          MORTGAGEandNOTE withtheFederalRESPA 12 U,S.C 2605 QUALIFIDE
          W RITTEN REQUEST tomakethem show theierownership ofthepropertyand
          ourexactDeptowedtothem and DEUTSCHEBANK NATJONALTRUST would't
           reply in violation ofRESPA 12 U.S.C 2605 federallaw and in Dade County
           courtsw ehave been asking forthisw ith ourFederalRESPA 12 U.S.C 2605
           QUALIFIDEW RITTEN REQUEST form sinsethebeginningofthisfakeForclosure
           case began,EXH.

                89. Defendantshave enuaEedi'n a a-actice ofnon-canoliancew ith RESPA,
         Includine failine to resoondtoa-onerlvsubm itted0W R's,seeExh..plaintiffis
         inform edandbelivesthatthispracticeisdesigned toconcealTlluAand RESPA
         Federalviolationsand tocancealtheidentity ofthem anyinvestorsw ho believe
         theyare theow nersoftheNOTE,LANCASTER M ortgageBank LLcgotcash from
         and true beneficiary oftheLoan.Asadirectand proxim ateresultofDefendants
CaseCase
     1:19-cv-24184-MGC   Document
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                           EAJ Docum Entered  on03/
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        failureto com ply w ith RESPA,Plaintiffshave suffered and continuesto sufferactual
        dam agesinthathe'sunabletoascertainthebasisfor defendantsclaim s tohis
        property,he cannotidentify the ow nerofthebeneficiary ofthe Note,he can
        notdeterm ine w hetherhispaym entsto IndyM ac Bank paid to thebeneficiary
        and thereisno evidenceuponw hich toconcludethatDefendantsareactingas
        NOTE ow nerw ith thelawfulauthority to foreclosethe property.UnderRESPA,
        Plaintiffsseekstripledamages,and also docum entswereorderedforQualified
        W ritten Request.Form alProtestand Dispute ofAlleged DebtAnd Validity of
        Alleged Loan,Butneverreceived See exhibitD established a tw o-parttestfor
         determ iningthelegalityoflenderpaym entstom ortgagebrokers fortable
         funded transactionsand interm ediary transactionsunderRESPA:

              a)Whethergoodsorfacilitieswereactually furnishedorserviceswere
       actually perform ed forthe com pensation paid and;


              b)W hetherthepaymentsarereasonablyrelatedtothevalueofthegoodsor
        facilitiesthatwere actually furnished orserviceswere actually pert-
                                                                          ormed.


              90.In applyingthistest,HUD believesthattotalcom pensation should be
        scrutinized to assurethatisreasonobly related to the goods,facilities,orservices
        furnishedorperform ed todeterm inew hetheritislegalunderREspA.Theinterest
       and incom ethatDefendantshave gained isdisproportionateto the situation Plaintiff
       Jam esBuckm anfind them selvesin duedirectlytoDefendant'sfailuretodisclose
       thattheywillgain ar:nancialbenefitwhilePlaintiffJAMESBuckm an suffer
       financially asaresultoftheloanproductsoldto PlaintiffJamesBuckm an,
               91.Noseparatefee agreem ents,regardingtheuseofthe fake LANCASTER
        M ortgage Bank LLC CostofSavings''asthe lndex forthebasisofthisloan,
        Disclosuresofadditionalincom edueto interestrate increasesortheproperform
        and procedurein relation to the Borrow er'sRightsto Cancelthe fake NOTE and
        M ORTGAGE.


                           SIXTH CAUSE OF ACTION-NO CONTRACT
                                   FLORIDA STATU E 697,t0
                                                    -



               92.TheAssignm entfrom M ERStOLancasterhasnoluotorparcelDescription
CaseCas
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       e 8:12-cv-00690-RAL-      43 ent
                          EAJ Docum Entered  on03/
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       on The M ortgage assignm entsee exhibitE & F w hich isavoid and an illegal
       Assignment(SouthFlorida'scitruslandco,v,W alden,5150.554,59Fla.606(1910),
       andGarvinv.Baker,5950.2d360(F1a.1952),alsoaccordingtoFla.Stat.697.1()For
       liability forerrorin m ortgage deed orNote and in any action relating to real
       Property.Ifthecourtshallfind thatanyperson hasprepared an instrum entw hich
       duetoaninaccurateorim properlegaldescriptionim pairsanotherperson's titleto
       realproperty,thecourtm ayaw ard totheprevailing partyallactualdam agesthat
       she orhe m ay have sustained asa resultofsuch im pairm entoftitle.
              93.M usthave atleastone w itness,ButThere isno w itnesson our
       m ortgageassignm entin violation of,117.05(b)1.a.b.c.d.e.seeexh.C Page2.the
       assignm entisvoid.
             94.The Notary on theassignm entisa fake,The Notaary stam p m ust
       contain com m ission orID num ber,to identify theperson ifneeded to verify orin
       court,(ourmortgagenotefor1977addresshasn comm ission orID numberto




              95.hidetheirthevery in theviolation of F.S.117.05(3)(A)and F.S.
        695.26(1)see exh.Thenameofeach person who executed suchinstrumentis
        legibly printed,tupe w rittell,orstam ped upon such instrum ent
        im m ediatelybeneath the signatureofsuch person and the post-office addressof
        each such person islegibly printed,typew ritten,orsstam ped upon such
        instrumentinviolation of F.S.695.01(1)and F,S.695.26(1)(a)and F.S.494.
        0075 (5)and F.S.701.02 (1)(2)(3)exh.A
                96.Assignmentof Mortgage was done10/20/05the same dayas
         ClosinzbuttheLotthe sY celwasouton reconl09/30/05 twentv davs befo-r-t
         Fake Closing andw as done tu lnexhibit,see exhibitFz,and notapartyofthe
         assignm ent.So M ERSisnotow nerand the Deutsche Bank Assignm entfrom
          M ERS isvoidCom pletely,and M ERsthuscausing Plaintiffstosufferan im paired
          and defectiveTitle,plaintiffasked fortriple Dam ages.
CaseCase
     1:19-cv-24184-MGC    Document
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                    SEVENTH CAUSK9FAETION:FM UD AND E-
                                                     ONCEALMENT

                                   FLORIDA STATUE 726.105fd1


     Fed.Rule 3.1 Standing can be broughtup any tim e even on Appeal.Denied Defendants
     ObjectionstoSalewithoutBankprovingtheyhad StandingbecausetheBankfiled Complaint
     before they ow ned the Note.Plaintiffforeclosed on the property before they owned it by
     w ay of m aking a Fraudulent Assignm entand taking Defendants property w ithout having
     Note ownership.This foreclosure should neverhave been allow ed becausetheBankdidn't
     have assignm ent.Ifw e look further,the Lispendensthatwasused hasarecorded date of
     06/20/2007an AssignmentofMortgagewasrecorded on thatdatebytheclerk ofcourtin
     M iam iDade as seen on exhibit C,and asseen on the sam e Docum ent,the Assignm ent w as
    madeafterLisPendenswasfiledwhich accordingtoMcleanv.JpMorgan ChaseBankN.A.).
    Thisisanlllegalforeclosure,youcannotForecloseonapropertybeforeyouownittNotelztherewas
     neveranyevidenceofDeutschebankeverow ningthe NoteorllavinganykindofanAssignm entbefore
     therecordeddateof08/22/2007sothisAssignmenthasnoeffectagainsttheCreditorunless
     recordedbeforetheComplaintseeFla.Stat.817.535(e)5(2)(A)apersonwhofilesordirectsafilerto
     filew ith theintenttodefraud orharassanother,oranylnstrum entcontainingam ateriallyfalse
     fictitiousorfraudulentstatem entorrepresentationthatpurportsBank filedComplaintbeforethey
     ow ned the Note.Plaintiffforeclosed on the property before they owned itby w ay ofm aking a Fraudulent
     Assignm entand taking Defendantsproperty w ithouthaving Noteownership.This foreclosureshould never
     havebeenallow ed becausetheBankdidn'thaveassignm ent.Ifw e lookfurtherztheLispendensthatwasusedhas
     arecordeddateof06/20/2007anAssignmentofMortgagewasrecordedonthatdatebytheclerkofcourtin
     Miam iDadeasseenonexhibitc,andasseenon thesam eDocum ent,theAssignm entwasm adeafterLisPendens
     wasfiledwhichaccordingtoMcleanv.JpMorganChaseBankN.     A.l.Thisisanlllegalforeclosurezyoucannot
     ForecloseonàpropertybeforeyouownittNotel,therewasneveranyevidenceofDeutschebankeverowningthe
     NoteorhavinganykindofanAssignmentbeforetherecordeddateofo8/zz/zoo;sothisAssignmenthasno
     effectagainsttheCreditorunlessrecorded beforetheComplaint,seeFla.Stat.817.535(e)5(2)(A)apersonwho
     filesordirectsafilerto filew iththeintenttodefraud orharassanother,oranylnstrum entcontaininga
     m ateriallyfalsefictitiousorfraudulentstatem entol
                                                      -representationthatpurportsto affectow nersinterestin the
     property described in the instrum entcom m itsa Felony.Assignm entsto property cannotbe m ade
     Retroactively the Assignm entbeginsfrom thetim e thatthe docu m entisrecorded in the County Court.There
     havebeen numerouscasesthatweredism issed becauseoffaultyAssignm entssuch asM clean V,IPM ,And US
     Bankv.Ibanezw heretheMassachusettsSuprem e
CaseCase
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        Courtfound thatthem ortgagesw ereassignedtothelenderafterthecom pletion of
        theforeclosuresaleor,thecourtdecidedthattheforeclosuresw erevoidbecausethe
        lenderslackedlegalauthoritytoforecloseandthentherew asaBatchv.LasaileBank
        N.A.171So.3d207,209(F1a.4*DCA2015)reversingaForeclosureJudgmentinpart
        because''theassignm ent(ofMortgagejwasexecutedafterthecomplaintwasfiled,
        alsoseeAbdelDarw icheand BatoulDarw ichev.Bankof'New YorkM ellon,w henthe
         assignm entofm ortgageuponTheBankofNew Yorkrelied toestablish itsstanding,
         theAppellatecourtagreedW ith thehomeowners/thatthegeneralissuesofmaterial
         factrem ainedAstoW hethertheassignm entofm ortgagew assufficienttoestablish
         BNYM 'SStanding attheinception ofthesuitand alsoseeDarleneAngeliniand
         JosephAngeliniv,HSBCB/kNK,etat.,4D14-216thebankstestimonydidnot
         establishTherelevant:thatitheldthenoteatthetim ethecom plaintw asfiled.
CaseCase
    1:19-cv-24184-MGC   Document
         8:12-cv-00690-RAL-      43 ent
                           EAJ Docum Entered  on03/
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         Although The Bank w asclearly the holderatthetim eitintroduced the blank
         indorsedNoteattrial,''(ajplaintiffslackofstandingattheinceptionofthecaseand
         isnotaDefectthatm aybecuredbytheacquisition ofstandingafterthecaseisfiled.
         Andcannotbeestablishedretroactivelybyacquiringstandingtofilealaw suitafter
         thefact,''LaFranceV.U,S,BankNat'lAssn,141So,3d754,756(F1a.*DCA2014)and
         Mccleanv,JpMorgan.TherilforeDeutscheBankdoesnothaveStandingto Foreclose,
         and here Deutsche Bank is atfaultand should paytrebble.


                    EIGHTH CAU-
                              SE OF AETION:PROPERTY SOLD AT PRICE 50
                           LOW THAT IT SHOCKS THE CONSCIENCE
                                 FLOkII)A STATUE 45.031.* 1

         ThePlaintiffspropertyw assoldatapricesolow itshockedtheconsciencetheclerk
         sold plaintiffs$2.1m illionhouseforamere$42,000.00seeeKb.DI,inwhich was
         purchasedbythesamebankwhichis(DEUTSCH E BANK NATIONALTRUST
         COMPANY ASTrustee UnderThe Pooling And ServicingAgreem entSeriesRast2006-
         A8ICSFB)thispriceissolow itshockstheconscienceaccordingtoFl.Stat.45.031-
         (8)MauriceSym onettedid fileobjectionto saleand demandsthatit
         beheardandhasfound new inform ationto furtherstrengthenourcasetoshow that
         the bank isknow ingly illegally takingthisproperty.Deutsche Bank boughtthe
         propertyatauction intheforeclosuresaleofthesaidpropertyon6/22/2017forforty
         twothousandthreehundred Dollarsthatpriceissolow thatitshockstheconscience
         accordingtoFl.Stat.45.031-(8)whichvolDsthesALEandRule702.Fl.Stat.702(5).
         F.S.A.MitchellV.Masonandalsosee,FirstbankV,FisherFrichtelInc.whichsays(if
         thecaseissoinadequateasto raisean inferenceoffraud thentheforeclosurecan be
         voided)Allthisdonetobv nassTax.OocStam nsanddoawavwith alltheliensand
         m oniesowedattachedtotheDronertv.AndsonledayslateraRerrealizingthatw esaw
         the$42,300,00salespriceforthesz.lmillionandthatweowedandthatdefendants
         saw thatthesalespricew assolow andagaillsttheLaw thatitshocked theconscience,
         thatwhen Defendants cam eback to question theClerk aboutourBankruptcy and
         w antedtoshow them anagerhow ridiculously low thatsalesw as.M ysteriouslythey
         show DefendantsanotherDeutscheBankdifferentfrom thefirstDeutscheBankthat

                                             36
CaseCas
     1:19-cv-24184-MGC    Document
        e 8:12-cv-00690-RAL-       43 Entered
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        Clerkshowedusjustdaysearlierse1ling$42,300.00butnow itshowedDefendant's
        propertysoldfor$888,000.00inwhichwediscoveredlaterwasdoneonthesamedate
        6/22/2017WfthdifferentbanklDeutscheBankN:tfooalTrustcompanyAsTrustee
        fOrRESIDENATIALASSETSECURITIZATION trUStSerieSZOO6-A8M ORTGAGEPASS-
        THROUGH CERTIFICATESSERIES2006-H),even afterthem seeingustapethem saying
        m outh,giving itto us in w riting and show ing uson theirGovernm entcom puterthe
        salespriceat$42,300.00withwitnessesseeYouTube:(DadeClerksarelawlesslsee
        Exb. 1.ThisshowsFraudandCollusionagainsttheDefendantstojusttakethe
        propertywrongfullywhich isthemain reasonsfortheObjectiontosaleandthis
        com plaintisthatthesalepriceissolow thatitshockstheconscience.Theforeclosure
         am ountow ed was2.6 m illion andthe estimated valueis$1,810,000.00butshockingly
         the salewasforty tw othousand three hundred.And theForeclosurewasstarted w hile
         defm dantsw ere in eood Standing with ourpayments.even afterpavine on tim eto the
              -



         Bpnkandwehavenroofthatw ew erem akinethenavm entsbeforeandaftertheBank
                        -



         s-tarte-d
                 -
                   theforeclosureonusseeexhibits1,2.3,4.5,a1Ad6.thisforec1osuresaleneedsto
         bevoided and recalled duetotheclerkofthecourtcarelessand fraudulentactivity.


             NINTH CAUSE OF-ACTION:VIOLATION OF TIM ELY ASSIGNM ENT
                      FLA.STAT.702.02 AND FLA.STAT.726105* 1


      Alsotheinstantassignm entw asalsountim ely inorderfortheforeclosuretobe
      legaltheassignm enttothem ortgagem ustbeentered inatim elym annerpthatisit
      should beentered beforetheforeclosure,in thiscaseitw asnot,theLisPendens
      wasrecorded 06/20/2007,exhibitB,andtheassignmentwasrecorded
      08/22/2007whichwasatleast63daysaftertheForeclosureseeExhibitCzthus
      DeutscheBankforeclosed beforetheyeven ow nedtheNoteandtheyknew itand
      tried itanyw ay hopingthattheycouldgetawayw ith itan assignm entcannotBe
      Assigned retro actively seeProgressive Exp,lns.Co.Y Mcgrath Com ty.Chiropractic,
      913So.2d1281,(Fla.2dDCA 2005),theplaintiffslackofstandingattheinception
      ofthecaseisnotadefectthatm aybecured bytheacquisition ofstandingafterthe
      caseisfiled.Thusa party isnotperm itted to establish the rightto m ainta in an
      actionretroactively byAcquiringstandingtofilealaw suitafterthefact..M cleanv.
                                               37
CaseCase
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     JpMorgan,ThereforeDeutscheBankHasnostandingintheow nershipofthesaid




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CaseCase
     1:19-cv-24184-MGC   Document
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                           EAJ Docum Entered  on03/
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      propertyandforDeutschetoam endthecom plainttostartoverw ouldonlysuggest
      fraud(Pinov.BankofNew York)asitalreadyisbythenatureofthetransaction
     thetransaction it'sselfisdeceptiveandtohavethisfaultofallassignm entw ritten
      aftertheCom plaintisfilledzbutDeutscheBankN.
                                                 A .stillclaim theyhavestanding
      isanaction offraud ashavebeen tried byso m anyothercasesand the Banksthat
      didthem lost(USBankN,A.vlbanez),Murrayv,HSBCBankUSA 20060P1)ana
      (Powersv.HSBC BANK USA 2006).A fraudulentTransferisonewhen oneis
      threatenedwithsuitbeforeassignmentof'propertyismade,Fl.Stat.726.105(D),
      and also UCC Article 3 line #6 saysassignm entsorendorsem entsm ustbe
      effectuated 8eforesuitisfiled.progressiveExp.Ins.Co.v.M cgarthCom ty,AlsoFla.
      Fourth DcA and UCC F,S.DH 673ARTlCLE 3OFTHEUCC:saystheym ustprove
      theyow ntheNotebeforetheyforeclose.OnNotethiscaseisvoid,DeutscheBank
      hasno standing in thiscaseand property should be aw arded to plaintiffsor
      M onetary dam ages.



       TENTHtAUSE OFACTION:THEREW AS NO CONSIDERATION TIIE BANK CONSIDE
               MONEY MUST BEGIVEN TO ASSIGN A NOTE.FLA.STATUE701.02(1)(2)
Case Case
     1:19-cv-24184-MGC    Document
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       FloridaContract(MailBoxLaw)(4)saysyoumustinordertoconsummateacontractoran
      assignmentyoumustgiveconsiderationmoney.TheJudgeErredand isinViolationofFlorida
       ContractLaw t4)fornotDismissingthecasebecausetheAssignmenthasnoConsideration
       M oneyontheAssignm entbetw een LancasterBankLLcand M ERSnotonlydidtheyviolate
      the30 daynoticeon theAssignm entbytryingtosaletheNoteonthesam edayandtheyalso
      neverconsum m ated thecontractw ith m oneyconsideration,seeexb,BandC.pleaandeffect
      of.--sw orn plea ofconsideration throw sburden on plaintiff.---sm ith v.l,e Yesque,25 Fla .,
      4.64,:W hitev.cam p ,1 Fla.,94.Pleaofw antofconsideration asagainstbonafideholderof
      negotiableprom issorynote---Hancockv.Hale,17 Fla.,808.Section doesnotobviate
       necessityofexhibitionofinstrumenttothejurriwhenexhibitedzconsiderationpre-
       assignm entorendorsem ent---Sinclairv.GrayzgFLA.,34Z.EFFECTOFSW ORNAND
       unsw orn pleaofw antofconsiderartion.----lb.Pleam ustsetforth facts.---Ahrensv.W illis,6
       fila.z3sg.How draw nandw hatshould contaili----W hite v.Cam p,1Fla.,94 Mustriotbe
       equivalentto illegality orfailure ofconsideration---Orm an v barnard,5 Fla.,528.Effectof
       unsw ornpleabyadm inistrator--Knightv Knight,'?F1a.,253,M ERS isnotontheoriginalnote
               3fiasanomineeoranp hingatallandtlleNoteshowsattheendorsem entpageof
     theLancasterbank'snotethatallpaym entsareduetoLANCASTER M ortgageBank LLCOn
      Oct.20*,2005 and Lancasteronthesam edaysignedthenotetoM ERsw ithouta3oday
     noticeand'w ith no m oneyconsiderationandLANcAsTERM ortgageBankLLcaccordingto
     Lancasterw asnow the note holderasstated on theback ofthe notebutLANCASTER
     M ortgageBank LLC did assign thenoteoverto MERS(seeexhibitC,)so MERSaccording
     to Lancaster'sm oney consideration failureandtoLancasterisnottheow neroftheNote
     and M ERSneverdid buy the Note orthe assignm entbecause they neverconsum m ated
     the assignm entw ith the consideration m oney,so thereforetheassignm entfrom M ersto
     Deutsche Bank isInvalid because M ERscould notsign anotetoDeutscheBankw hen they
     don'tow n theNote.And don'tforgetthe assignm entw aslate,Filed afterthe lisPendens
     wasfiledinviolation ofFloridaDCA third districtcourtofappeal,Mclean v.JpMorgan.


            11.ELEVENTH CAUSE OF ACTION VIOLATION GAAP FASB FAS 140 RULE AS
                 GOVEREN ED BY TH E SEC A ND T H E US D EPT.O F TH E TREASURY
CaseCase
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     ThisiswhatI'm QuietingtheTitleagainsttheSEC andTreasuryfor.TheFederalGAAP
     FASB FAS140 Rulesaysthatw hena NOTE issold on the m arketasasecurity,theNOTE
     m ustbeburned anddestroyedandcanneverbeasaforeclosureinstrum entbecausethatis
      SEC Fraud becausethelRShasw rittenthedestroyed lossoff,thentheinsurance paid the
      lossoffand then sold iton them arket.The NOTE w asalso seperated form the m ortgage
      w hentheoriginalProm issory NoTEw asnotrecordedalongw ith Mortgageatthecounty
      level,Additionally,theM ortgagewasseparated form theNotew hentheloan wasbundled
      togetherw ith hundreds orthousandsofotherloans to create m unicipalbond funds,in
      orderto selland trade on W allStreet.W hen the OriginalNotew asbundled itwas
      destroyed andgiven anum bertopresentothersform double-dippinp thatis,toprevent
      othersfrom resellingtheprom issory Noteagain.Bylearningthisinform ationptheoriginal
      w etblueinkprom issory Notecannotbeproducedzbecauseitw asdestroyedw hen itw as
      bundled togetherand putinto a securitized loan tiustto selland tradeon w allstreet.To
      seperatetheNOTE from them ortgageistocollapsethetrtlst.Seecarpenterv.Longan,83
      U.s.atz74tfindingthatanassignmentoftheinortgagewithouttheNoteisanullity);
      Landm arkNat'lBankv.Kesler,zl6P.3d158,166-67(Kan.zooglt'flntheEventthata
Case Case
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      m ortgageloan som ehow separatesinterestofthe Note and the deed oftrust,
      w ith the deed oftrustlying w ith som eindependententity,the m ortgage m ay becom e
      unenforceable''l.seealso37Fla,lur.MortgagesandDeedsofrfrust'z4o(Onewhodoesnot
      have the ow nership,possession,orthe rightto possession ofthe m ortgageand the
      obligationsecuredbyit,maynotforeclosethemortgage).''Themortgagerollowsthenote.
      An assignm entoftheNotecarriesthem ortgagew ith itwhilean assignm entofthe later
      aloneisanullity.''(CapitollnvestorsCo.vs.ExecutorsoftheEstateofMorison,484 F.2d
      1157,1163n.'W hen anoteissecured bya m ortgageisassigned,them ortgagefollows
      thenoteintothehandsofthem ortgagee.''lnotherw ords,thenoteisheld andow nedby
      the certificate holdersoftrust,and the m ortgagefollow sthe Note.



                         ALSO IF LANCASTER W AS ACTUALLY A NOTE

      0n oraboutMarch 1,2006 (hereinafterreferredtoas''closingDate'')PlaintiffJam es
     8uckmanwhoownsthehousethatwasQuitClaimedto andowned by LeroyW illiams

     who wassupposed to enterinto aconsum ercredittransaction w ith LANCASTER Mortgage

     BankLLCBY 0BTAIN ING A $1.5m illion mortgageloan securedbyaFirstTrustDeedonthe

    PropertyinfavorofLancasterLLc,ButthesALENEvERHAppENEDTHE FAltEloanonthehouse

    w assecuritized,w ith theNoteand notbeing properly transferred to Defendant,Deutsche

    Bank,actingastherrrusteefortheLANCASTER M ortgageBank LLc.holdingplaintiffs

    Note.Docum entsfiled w ith the SEC by the securitization participantsallegedly claim

    thatthenoteanddeedoftrustatissueinthiscasew eresold,transferred andsecuritized

    by Defendants,w ith otherloansand m ortgagesw ith aggregate principalbalanceof

    approximately $1.5million into LANCASTER MortgageBank LLC BalanceofLLCTrust,

    w hichisacom m on Law Trustform edpursuanttoNew Yorklaw .Adetaileddescription


                                                40
Case 1:19-cv-24184-MGC Document 43 Entered on FLSD Docket 08/07/2020 Page 49 of 92
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    ofthem ortgageloansw hichform the LANCASTERM OI-tgage BankLl,cisincluded in

    Form 424BS(''TheprospectusN),whichhasbeendulyfilledwiththesEcandwhichc

   an be accessed through the abovem entioned footnote.


   Anexpertcertified,forensicauditofthePlaintiffsloandocum entsrevealsthatplaintiffs
   m ortgage notew asrequired to atleastgothrough thisassignm entchain ofkeyparties
   beforeitreached theREM lctrusteeitw asdestined for:ThePlaintiffsPsA requiresthat
   his/hernoteordeedoftrusthadtobeendorsedandassigned,respectively,tothetrust
   andexecuted by m ultipleintervening partiesin theaboYechain ofassignm entbefore
   itreached the REM IC Trustee.
   Plaintiffexecutedaseriesofdocum ents,includingbutnotlim itedtotheNoteandDeed
   ofTrust,SecuringthePropertyintheam ountoftheNote.TheOriginalbeneficiaryand
   nom inee underthe Deed ofTrustw as m ers.
   Plaintiffisinform ed andbelieves,andthereonallegeszthatthepurchasem ortgageonthe
   property,thedebtorobligation evidencedbytheNoteandthedeedofTrustbyplaintiffin
   favoroftheoriginallenderand otherDefendants,regarding the Property,w asnot
   properlyassignedandtransferredtoDefendantsoperatingthepooledm ortgagefundsoi
  trustsinaccordancew iththePsAand/orFlaoRlDAlaw ofentitiesmakingandreceiving
  thepurportedassignmentstothistrust.lnaccordancewiththePSAand/orFLORIDAlaw
   ofthe entitiesm aking and receiving the purported assignm entsto thistrust.
   Plaintiffallegesthatthe PSA requiresthateach NoteofTrusthad to endorsed and
   assigned,respectively ,to thetrustand executiveby nlultiple interviewingpartiesbefore
   itreached theTrust.Here,neitherthe Note northe Deed ofTrustwasassigned to the
   SecuritizedTrustbyclosingdate.Therefore,underthepsA,anyassignm entsoftheDeed
   ofTrustbeyond thespecifiedclosingdatefortheTrustarevoid.Plaintifffurtheralleges
   thateven iftheDeedofTrusthadbeentransferred intothetrustbytheclosingdate,the
   transaction isstillvoid asthe Notew ould nothave been tiansferred accordingto the
   requirem entforthe PSA,Sincethe PSA requiresa com pleteand unbroken chain of
   transferand assignm entstoo and from each intervening.Plaintiffinform ed and believes,
   andthereonallegeszthattheLANcAsTER M ortgage         Bank LLC had no officersor
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  directorsandnocontinuingdutiesotherthantoholdassetsand toissuetheseriesof
  certificatesofinvestm entin m ortgage backed securitiesin theprospectus.
  Identified herein below .detailed description ofthem ortgage loans,which form the duly
  filledw ith theSEcandW hich canbeaccessed through thebelow m entioned footnote.


       Plaintiffisinform edandbelieves,thatDefendantsDeutschebank,allegesthatitis
       the ''holderandow ner''oftheNoteand thebeneficiaryoftheDeed oferrustzilow ever,
       the Note and Deed oftrustidentify them ortgage and notholderasthe original
       lenderallegedly sold the m ortgage loan to LANCASTER M ortgage Bank LLC
       Plaintifffurtherallegesthatno documentsorrecordscan beproduced thatdem onstrate
       thatpriorto the closing dateforLANCASTER M ortgage Bank LLC thenote duly
       endorsed,transferred anddeliveredtOLANCASTER M ortgageBankluLc includingall
       interview ingtransfers.Norcan any docum entsorrecordsbe produced that
       dem onstratethatpriorto theclosing date,the Deed ofTrustw asduly assigned,
       transferredanddeliveredtoLANcAsTERM oitgageBankLLcincludingallintervening
       assignm ents.


        Plaintifffurtherallegesthatanydocum entsthatpurportanyinterestintheNoteto
        LANCASTER M ortgage BanklaLcaftertheTrustclosingdatearevoid asam atterof
        law ,pursuantto NEW YORK trustlaw and relevantportiotlsofthe PSA.

     PlaintiffIAMESBUCKMAN'SLeroyW illiams)debtorobligation didnotcomplywith
     NewYorklaw,and/orotherlawsandstatues,and/thusydonotconstitutevalidand
     enforceable ''True Sale.''Any security interestin the Piopertyw as,thus,never
     perfected.Thealleged holderoftheNoteisnotthebeneficiary OftheDeed ofr
                                                                         rrust
     Thealleged beneficiary ofPlaintiffsDeed ofTrustdoesnothavetherequisitetitle,
     perfectedsecurityinterestorstandingtoproceedinaForeclosure;and/ornotthe
     realparty in interestw ith regard to any Action taken to be taken aga instthe
     property.
     PlaintiffJAMESBUCKMANSisalsoinformeilandbelieve,andthereonallegesthatat
     alltim eshereinm entioned,anckanyassignm entofaDeed ofTrustw ithoutproper
     transferofthe Obligation thatitsecuresisa legalnullity.

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         toM ERs,therebyseparatingthem ortgagenotefrom thedeedoftrust, M ERsw ould
         hold the deed oftrustforw hoeverlater claim ed to be the ''ow ner''ofthe
         hom eow ner's m ortgagenote,

                 37.PlaintiffJAMESBUCKMANallegesthatDefendants,andeachofthem ,
         clnnotshow properreceipt,possessionz transfer,negotiations,assignm entand
         ow nership ofthe borrow er'soriginalProm issory Note and Deed ofTrust,
         resulting in im perfectsecurity interestsand claim s.

                38.PlaintiffJAMESBUCKMAN furtherallegesthatDefendants,andeachof
         them,cannotestablishpossession andpropertransferand/orEndorsementofthe
         Prom issory Noteand properassignm entoftheDeed ofTrusthereinitherefore,
         noneoftheDefendants,andeachofthem , do nothavetheabilitytoestablish that
         m ortgagesthatsecuretheindebtnesszorNotez werelegallyorproperlyacquired.



                 39.PlaintiffJAMESBUCKMAN allegesthatan actualcontroversy has
         arisen and now existbetween the Plaintiffand Defendants, and each ofthem .
         PlaintifflAMEsBucKMANdesiresajudicialdeterminationanddeclarationofits
         rightswith regardto the Property, especially becausetheM ortgage and Notewas
         neversignedandthecorrespondingprom issorynoteand Deedofrrrustplaintiff
         JAMESBUCKMAN also seeksredressfrom Defendantsidentified herein for
         damages,forotherinjunctivereliefandforcancellationofwritteninstrum ents
         based upon:

                d.An invalid and unperfeçted security interestin PlaintiffsHome herein
         afterdescribed;

                e.Void ''TrueSaletsl'violatingFLORIDA law and expresstermsofthe
         poolingand servicingAgreement(''PSA'')governingthesecuritizationofPlaintiffs
         m ortgage'

                f.An incom pleteand ineffectualpei'fection ofa security interestin
         Plaintiffs Hom e;

                  THERE IS ABSOLUTELY NO LANCASTER NOTE AT ALL

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    In order fortheTrustee ofthe securitized trustto have a valid and enforceable
    secured claim againstPlaintiffs Hom e,the Trustee m ustprove and certify to all
    partiesthat,am ongotherthingsrequired underthePSA:Therew asa com pleteand
    unbrokenchainofendorsem entsandtransfersoftheNotefrom andtoeachparty
    tothesecuritizationtransaction(whichshouldbefrom tlleAMortgageoriginator
    tothe(B)Sponsortothetc)Depositortothe(D)Trust/Trustee,andthatallthese
    endorsementsandtransferswerecompletedpriort()theTrtistclosing dates (See
    DiscussionbelowliaridTheTrusteeofthesecuritizedTrusthadactualphysical
    possession oftheNote atthatpointin tim e,w hen al1endorsem entsand
    assignmentshadbeencompleted.Absentsuchproof,PlaintiffJAMESBUCKMAN
    allegesPlaintiffJAMESBUCKMAN'SHom ethatistheSubjectofthisaction.
    Therefore,iftheDefendants,andeachofthem didnotholdand possesstheNoteon
    orbeforetheclosingdateofrrrustherein,theyareestopped and precluded from
    asserting any secured orunsecured claim in thiscase
        PlaintiffJAMESBUCKMAN isinform edand believes,andthereon alleges,that
        pursuanttotheterm softhePSA,theMortgageOriginator(i.e.ztheoriginallender
        herein)agreedtotransferandendorsetotheTrusteefortheSecuritized trust,
         withoutrecourse,including allinterveningtransfersand assignm ents,allofitsright,
         titleandinterestinandtothemortgageloan(Note)ofplaintiffJAMESBUCKMAN
         hereinandallotherm ortgageloansidentifiedinthepsA,plaintifflAMEsBucKMAN
         isfurtherinform edandbelieveszandthereonalleges,thatthepsA providesthatthe
         transfersand assignm entsareabsolute,w erenladeforvaluableconsideration,to
         w itpinexchangeforthecertificatesdescribed inthePSA,andw ereintended bythe
         partiestobeabonafideor''-rruesale.''Since,asalleged herein belom Truesalesdid
         notactually occur,Plaintiffallegesthatthe DefendantTrusteesareestopped and
         precludedfrom assertingandsecuredorunsecuredclaim inthiscase.


        34.          PlaintiffJAMESBUCKMAN isfurtherinformed andbelieves,and
  thereon alleges,thatasa iesultofthe PSA and otherdocum entssigned underoath in
  relation thereto the MortgageOriginator,sponsorand depositorareestopped from claim ing
  anyinterestintheNotethatisallegedlysecured bytheDeedof''frustonPlaintiffJAMES
  BUCKMANS Hom eherein.
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       35.           PlaintifflAMEsBucKMANisinformedandbelievepandthereonallege,
 thatthe Note in this caseand the otherm ortgageloansidentified in the PSA,w erenever
 actually transferred and delivered by the M ortgage Originatorto the Sponsororto the
 Depositorfrom theDepositortotheTrusteefortheSecuritized Trust.PlaintiffJAMES
 BUCKMAN furtherallegeszoninform ation andbelief,thatthePsA herein providesthatthe
 M ortgage Filesofthe M ortgagesw ereto be delivered to LANCASTER M ortgage Bank LLC
 w hichM ortgageFilesincludetheoriginalDeedsofTrustherein.Basedupontheforegoing,
 PlaintiffJAMESBUCKMAN isfurtherinformed and believe,andthereonallege,thatthe
 following deficienciesexist,in the''TrueSaled'andsecuritization processastothisDeed of
 TrustwhichrendersinvalidanysecurityinterestinthePlaintiffJAMESBUCKMANSmortgage?
 including,butnotlim ited to:



        e Thesplittingorseparationoftitle,ownershipandinterestinPlaintiffJAMES
  BUCKM ANSNoteand DeedofTrustofw hichtheoriginallenderistheholder,ow nerand
  beneficiaryofPlaintiffJAMESBUCKMAN'SDeed ofTrust;
        lW hentheloanw assoldtoeachinterview ing entityztherew erenoAssignm ents
  oftheDeed oftrusttoorfrom anyinterviewingentityatthetim eofthesale.Therefore,
  ''TrueSales''could notand did notoccur;
       g ThefailuretoassignandtransferthebeneficialinterestinplaintiffsDeedofTrust
 toDeutscheBank inaccordancewithPsAoftheDefendants,assecuritizationparticipants;


        thefailuretoendorsezassignandtransferPIaiIAtiIXAM ESBUCKMANS
 NOTEAND/OR mortgagetoDefendantBank,asTrusteeforLANCASTER Mortgage
 Bank LLC
       G.No Assignm entsofBeneficiary orendorsem entsofthe Noteto each ofthe
 interveningentitiesin thetransaction everoccurred underFlorida Law,which isconclusive
 proofthatno truesalesoccurred asrequired underPSA filed w ith theSEC;and


       H.Defendants,and each orthem,violated thepertinenttermsofthePSA,
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          36,PlaintiffJAMESBUCKMAN.theret'ore,alleges,uponinformation andbelierthat
          neitherthesecuritization transaction,norany ofthe Defendantsin thiscase,hold a
          perfected and secured clailn in the Property;ancithatallDefendantsare estopped and
          precluded insertinganunsecured claim againstPlaintiffJAMESBUCKMAN'Sestate.


            37.     Theterm softhefinancetransactionw ith LANCASTER MortgageBank
      LLcarenotclearorconspicuous,norconsistent,andareillegalwhichviolatesseveral
      statuesand isinessencecreatesafraudulentand unenforceableloan.Further,this
      loanw asunderw rittenw ithoutproperduediligencebyLANcAsTERM ortgageBank
      LLC asevidenced by theirfailure to verify borrow er'sincom e utilizing signed lRS
      lncom eTaxDisclosureForm 4506Tw hich w ould haveprovided pastborrow ertax
      returns.LANCASTER M ortgageBankLlacalsoused a''GDW Costofsavings''asthe
      Indexforbasisofthisloan.BecausetheLendercontrolsthisIndexand itisdirectly
      based upon theparentcom panyitw asnotavalid indexforthebasisoftheloan.



            38,      lnaddition,andunbeknownsttoplaintiffJAMESBUCKMAN,INDY
      MAC BAN K,EM C M ORTGAGE BANKERS LLC knew orshould have know n that
      PlaintiffJAMESBUCKMAN could notqualify fororaffordby,forexam plethe
      underw riterhasapprovedthisloan based uponcreditscol-esand theborrow er's
      Statedlncom eonlyHadLANcAsTER M ortgageBankLLcusedam oreaccurateand
      appropriatefactor,suchasTaxForm sandam oredeterm inativeleverofscrutinyof
      determiningcomplywiththerequirementtoprovidePlaintiffJAMESBUCKMAN
      w ith a M ortgage Loan Origination Agreem entthe debtto incom e ratio,Plaintiff
      JAMEsBucKMANw ithaMortgageLoanoriginationAgreementthedebttoincom e
      ratio,PlaintiffIAMESBUCKMAN W ITHA M0RTGAGE LOAN ORIGNATION
      Agreem entthedebtincom eratio,PlaintiffJAMESBUCKMAN would nothave
      qualifiedfol
                 -theloaninthefirstplace.consequently,LANCASTER M ortgageBank
      LLcsoLDpLAlNTlFFlAMEsBucKMANaloanproductthatitknew orshouldhave
      know n w ould neverbe ableto be fully paid back by Plaintiff
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         JAMESBUCKMAN.

         72. Additionally,Defendantsand each ofthem ,neitherexplained the
         workingsoftheentirem ortgageloan transaction,how therates,finance
         charges,costsandfeesw erecom puted,northeinherentvolatilityofthe
         loan productsprovided by defendants.


         73. The purpose ofentering intothe above-described m ortgage loan
  transactionsw asforplaintifftoeventuallyowntheProperty,Thatpurposew as
  know ingly and intentionally thwarted and indeed m adeim possibleby Defendants
  com bined actionsasalleged heiein.


      74. PlaintiffJAM ESBUCKMAN'Stitletotheabove-described property is
  derivedasfollows:OnoraboutMarch1,2006(hereinafterreferredtoasNclosing
  Date'')LeroyWilliamswethoughtenteredintoaconsumercredittransactionwith
  LANCASTER M ortgage Bank LLC by obtaining a $2,600,000.00 m ortgage loan
  secured now by PlaintiffJAMESBUCKMAN'Sprincipalresidence,(Subject
  Property).ThisnotewasthoughttobesecuredbyaFirstTrustDeedonthe
  Property in favorofLANCASTER M ortgage Bank LLC
       75. AllDefendantsnam ed herein claim an interestand estatein the
   propertyadversetoplaintiffinthatdefendantassertshe'sistheow nerofthenote
   securedbythedeed oftrusttothepropertythesubjectofthissuit.
       76.AllDefendantsnam ed herein claim san interestand estatein the property adverse to
       plaintiffJAMESBUCKMAN inthatdefendantassertsheis
  The claim ofa1ldefendantarewithouth
                                    any rightw hatsoever,anddefendantshaveno right,
  estate,titlelien orinterestin orto the property,orany ()ftheproperty.


       77,Theclaim ofalldefendantsherein nam ed,and each ofthem ,claim som eestate,
right,title,lienorinterestinortothepropertyadversetoPlaintiffJAMESBUCKMAN stitle,
and these claim s constitutea cloud on plaintiffstitle to the property,


      78. PlaintiffJAMESBUCKMANS,therefore,allege,uponinformation andbelief,thatnone
ofthepartiestoneitherthesecuritizationtransaction,noranyoftheDefendantsinthiscase,
hold aperfected and securedclaim intheproperty;andthatallDefendantsareestopped and
precluded from assertinganunsecuredclaim againstPlaintiffJAMESBUCKMANSestate.
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      79.PlaintiffjAMEs8UCKMAN requeststhedecreepermanentlyenjoinandallpersons
claim ingunderthem zfrom assertinganyadverseclaim toplaintiffstitletotheproperty;and


      80.PlaintiffJAMESBUCKMAN requestthecourtawardplaintiffcoststl/thisaction,and
such otherreliefasthecourtm ay deem proper.


        B.DefendantM ERS cannotbe a RealPartv in Interestin a Securitized m orteaee


      81. SincethecreationofplaintifflAM EsBucKMAN'sNotehereinandDeedofTrust,
DefendantM ERSw asnam ed the ''beneficiary''oftheDeed ofTrust.


       82. Plaintiffisinformed and believes,and thereon alleges,thatDefendantsM Elkslacks
  theauthorityunderitscorporatechartertoforecloseam ortgage,ortoown ortransferan
  interestinasecuritizedm ortgagebecauseM ERschal-teslim itsM Elfspow ersanddutiesto
  functioning aselectronicregistration system ofcertain typesofsecurities.
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             83,PlaintiffIAMES BUCKMAN is informedand believes,and thereon
       alleges,thatinordertoconductaforeclosureaction,apersonorentit
                                                                   y musthave
       standing.



             84.PlaintiffJAMESBUCKMAN isinformed and believes,and thereon alleges,
      that pursuant to New York law , to perfect the transfer of m ortgage paper as

      collateral,the ow nershould physically deliverthe notetothetransferee. W ithout

      physicaltransfer,the sale ofthe note isinvalid as a fraudulentconveyance oras

      unperfected.



            85.The note is this action identifies the entity to w hom it w as payable,the

      originallender.rrherefore,theNoteherein cannotbetransferred unlessitisendorsed;

      theattachm entstothenoticeofdefaultdo notestablishthatendorsem entsw erem ade,

      norarethereany othernoticesw hich establish thattheoriginallenderendorsed and

      sold the note to another party.



            86.Furtherm ore,insofarasthe partiesto thesecuritization ofPlaintiffIAM ES
      BUCKM AN'S Note and Deed ofTrustbasetheir claim thatthe Notew astransferred or

      assignedtoDefendantDeutscheBanktheTrusteeofthesecuritizedMortgageherein,by
      theoriginallender,itisw ellestablished state law thatthe assignm entofaDeed ofTrust

      doesnotautom atically assign theunderlying prom issory note and rightto bepaid and

      the security interestisincid'?ntofthe debt.



            87. Pursuantto statelaw ,to perfectthetiansferofm ortgage papersascollateral
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       for a debt,the ow ner should physically deliver the note to the transferee.W ithout

       physicaltransfer,the sale of the note is invalid as a fraudulent conveyance,or as

       unperfected.The Note herein specially identifiesthe party to w hom itw aspayableto

       and the Note,therefore,cannotbetransferred unlessitisendorsed .



             88.Defendants, and each of'them , cannot produce any evidence that the

       Prom issory Note hasbeen transferred;therefore,,DefendantM ERS could only transfer

       w hateverinterestithad in the Beed ofTrustherein.theProm issory Note and freed of

       Trustareinseparable:an assignmentofthe Note carriesthe mortgageti.e.,Deed of
       Trust)withit,whileanassignm entoftheDeedofTrustaloneisanullity.Therefore,if
       oneparty receivesthe Noteand anotherpartyreceivesthe Deed ofTrust(asin this
       casel,theholderoftheNoteprevailsregardlessoftheorderinwhichtheinterestwere
       transferred.



             74.Defendants M ERS has failed to subm itdocum entsauthorizing M ERS,as

       nom inee forthe originallender,to assign the subjectmortgageto the foreclosing
       trustee.Hence,M ERslackedauthorityasm erenom ineetoassign Plaintiffsm ortgage,

       m aking any assign m entfrom M ERS defective.



             75.lntheinstantaction,M ERS,asthenom ineenotonlylacksauthority toassign

       the m ortgage,but can not dem onstrate the Tiustee's know ledge or assent to the

       assignm entby M ERS to the foreclosing trustee.
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              76, Anyattem pttotransferthebeneficialinterestofatrustdeed withoutactual
       ow nership ofthe underlying note, isvoid underlaw .Therefore,Defendant, M ERS,
       cannotestablish thatitisentitled toassertaclaim in thiscase. Forthisreason,asw ell
       astheotherreasonssetforthhereinbelow ,M ERscannottransferaninterestin real
       property,and cannotrecoveranything from Plaintiff.



             77.Defendants,and eachofthem ,through theactionsalleged above, have or
       claim therighttoillegallycom m enceforeclosureundertheNoteonthepropertyviaa
       foreclosure action supported by false orfraudulentdocum ents. Said unlaw ful
       foreclosureactionhascausedand continuestocausePlaintiffsgreatandirreparable
       injury in thatrealproperty isunique.FLA.STATUE 95.11 CALCODE CIVIL
       PROCEDURE 760.020.Plaintiffsseeksto quiettitleagainstthe claim softhe
       Defendantsandallpersonsclaim inganylegalorequitable right,titlezestate,lienzor
      adverseinterestinthepropertyasofthedatethecom plaintwasfiled(Fla.statute
      gs.llcalcodecivilProcedure760.020).Plaintiffsisthetitleholderoftheproperty
      according to theterm s ofagrantDeed Dated Sept. 07,14,2006.
      LancasterBank securitized plaintiffssingle-fam ily residentialm ortgage loan by Setting
      theNoteasaSecurityonthestockm arket. Plaintiffisinform ed andbelievesthatthe
      unlaw fulbeneficiaryhasbeenpaidin full.Them ortgage statesin paragraph lender
      shallrequesttrustee to reconvey the property and shallsurrenderthissecurity
      instrum entandallNotesevidencingdebtsecuredthissecurityinstrum enttoTrustee
      Trusteeshallreconvey theproperty withoutwarranty to the person orpersonslegally
      entitled toit...MortgagedoesnotstatethatPlaintiffm ustm akeafullpaym ent, only
      thata1lsecured sum sm ustbe paid.Plaintiffallegesthatthe obligationsow ed to
      Lancasterunderthem ortgage w ere fulfilled and the loan w as fully paid when
      Lancasterreceived fundsin excessofthebalance on the NOTE as Proceedsofsale
      through securitizationts)oftheloanandinsuranceproceedsfrom creditdefault
      sw aps.W e know thatM ERS wasused to sellthe NOTE in a bundleof5000 other
      NOTES ontheM arketunendorsed soastobeabletosellitoverand overagainw ith
      each investorbelievingheov/nstheNoteand to stopinvestoisfrom goingafterand

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       collecting on the investm ent.
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               TW ELTH CAOSE OFACTION:W RONGFPL FURECLOSUkE DUE T0
                         UNSIGNED M ORTGAGE NOTE FLA STAT.695.14

       ThisisanactionbroughtbyPlaintifffordeclaratoryjudgment,injunctiveandequitable
       relief,and forcom pensatory,special,gerieraland punitivedam ages.BecauseM ERS never

       gota legalAssignm entfrom Lancaster Bank because there w as no Leroy W illiam 's

       M ortgage orNote thatw assigned and neverexhisted.So Lancasterdid notassign the

       m ortgageto MERSand M ERS could rlothave Assigned the M ortgageorNoteto Deutsche

       Bank.W hich show s thatthis EVICTION isILLEGAL THEIFT 0 F TH IS PROPERTY.

       So w e the Plaintiff,hom eow ners,disputes the title and ow nership ofthe realproperty in

       question (the''Home''),which isthesubjectofthisaction,inthattheoriginatingmortgage
       lender,andothersallegedtohaveownershipofPlaintiffsm ortgagenoteand/orDeedof
       Trust,haveunlawfullysold,assignedand/ortransferredtheirownershipandsecurity
       interestin Prom issory Note and Deed ofTrustrelated to the Property,and,thus,do not

       have a law fulow nership ora security interestin Plaintiffs Hom e w hich isdescribed in

       detailherein Forfraud,Intentionalitlfliction ofem otionaldistress,rescission,declaratory

       reliefbased,on violations ofT.l.L,A.and R.E.S.P.A.,upon the factsand circum stances

       suroundingPlaintiffsoriginallognbyLeroyW illiamsthatwasquitclaimedtojAMES
       BUCKM A N,ExhibitD1.transaction and subsequentsecuritization.Defendant's violations

       ofthese law sare additionalreasons this Courtm ustquiettitle in Plaintiffsproperty and

       awarddamages,rescission,declaratoryjudgmeilt,and injunctivereliefasrequestedbelow.
              28.From lgg8untilthefinancialcrashof2008-2009,over60m il1ion hom e
       loanswhere sold by originating lenderbanksto investmentbanksto besecuritized
       inacom plex seriesofbillionsoftransactions.The Plaintiffshom eloan w asoneof
       the 60 m illion notesthatw eresecuritized.



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              29.Securitization istheprocesswhereby m ortgageloansareturned into
       securities,orbonds,andsoldtoinvestorsbyW allStreetand otherfirm s. The
       purposeistoprovidealargesupply ofm oneytolendersfororiginatingloans,
       andtoprovideinvestm entstobond holdersw hich w ereexpected to berelatively
       safe.Theprocedureforsellingoftheloansw astocreateasituationw herebycertain
       taxlawsknownastheRealEstateMortgagelnvestmentConduit(hereinafter
       ''REM IC'')Actwereobserved,andwherebythelssuingEntitiesandtheLenders
       w ould beprotected from eitherentity going into bankruptcy. In orderto achievethe
       desired ''bankruptcy rem oteness,''num erous''true Sales''ofthe loanshad to occur, in
       w hich loansw ere sold and transferred tothe differentpartiesto the Securitization.


              30.A ''True Sale''oftheloan w ould be a circum stance w hereby one party
       ownedtheNoteandthensoldittoanotherparl .Anofferwouldbem adepaccepted
       andcom pensationgiventothe''seller''in return fortheNote. rrheNotesw ould be
       transferred,and the DeedsofTrustassigned to the buyersofthe Note, w ith an
       Assignm entm ade every step ofthe w ay,and furtherm ore,each Note w ould be
       endorsed to the nextparty by the previousassignee of record.



              31.Each REM IC Trustcreatedby the investmentbanks,usually underNew
       York Law,w ould berndedw ith thousandstotens-of-thousandsofm ortgagenotes,
       In orderto m aintain theirbankruptcy-protected status,REM IC'Shad to haveclosing
       datesby which every m ortgage notethatwastobesold to the REM lC had to be
       ow ned bytheREMIC.Once the REM IC closed,itcould acceptno m ore m ortgage
       notesundertheterm sofREM IC law,and itwould begin selling securitiesbacked by
       paym entsfrom hom eow nerson thenotesit''ow ned''.



              32.How a particularm ortgage loan ended up being transferred to REM IC in




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       the securitizationsprocessisgoverned by a contractknow n asa pooling and
       ServicingAgreement(''PSA'').The PSA isaTrustAgreementrequiredtobefiled
       underpenaltyofperjurywiththeUnitedStatesSecuritiesandExchangeCommission
       (''SEC'')andwhich,alongwith anotherdocument,theMortgageLoan Purchase
       Agreement(''MLPA&),istheoperativesecuritization documentcreated bythe
       finance and securitization industry to m em orialize securitizationstransactions.


                33.W hentheplaintiffinthiscaseclosedonherproperty,heroriginallender
        (orotherentity claimingownership ofthenote)signed aPSA thatgoverned
        plaintiffsparticularm ortgagenote,ThepsAagreem entzasdescribed inm oredetail
        belowzdetailedtheclosingdatebyw hich thehom eow ner'sloan m ustbe''sold''to
        theREM IC,anddescribeexactlyhow thehom eow ner'snoteistofind it'sw ayfrom
        the originallenderto the REM IC trust.

                34.A typicalPsA callsforahom eow ner'snotetobetransferl-edatleastfour
        tim estodifferentkeypartiesbeforeitcom esintopossessionoftheREM lctrustee.
        Hereisachartdetailingthetypicalkeypartyassignm entchainrequiredbyatypical
        PSA :

                35.Aspartofthe process,the banksalm ostuniversally separated the
        m ortgagenotefrom thedeed oftrust.Underthecom m on lam theow nerofthenote
        hasthe rightto paym entson the note,and the ow nerofthe deed oftrusthasthe
        rightto foreclose on thehom eow nerifhom eow nerdefaultson the note,
        Traditionally,befoieinvestm entbanksbegan securitizirig mortgage notes,theholder
        ofthe note w ould universally hold the deed oftrust.This m ade sensebecause the
        party w ith the rightto collectpaym entson the note w ould w antto be able to
        forecloseusing the deed oftrustifthe hom eow nerdefaulted.




        How ever,to stream linethesecuritization process,tlleinvestm entbankscreated an
        entitycalledmortgageElectronicRegistiationsSystem (''MERS''),whoisoneofthe

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        defendantsinthiscasexTheinvestm entbanks,inadditiontousingM ERS'electronic
        databaseto track the buying selling and assignm entsofsecuritized m ortgagenotes
        (bypassingthecountyclerks'offices),wouldtransferdeedsoftrusttoM ERszthereby
        separatingthem ortgagenotefrom thedeedoftrust.M ERsw ould hold the deed of
        trustforw hoeverlaterclaim ed to be the ''ow ner''ofthe hom eow ner'sm ortgage
        note.

                36.PlaintiffJAMESBUCKMANallegesthatDefendants,andeachofthem ,
        cannotshow properreceipt,possession,transfer,negotiations,assignm entand
        ow nership ofthe borrow er'soriginalProm issory Note and Deed ofTrust,
         resulting in im perfectsecurity interestsand claim s.

                37.PIaiIAIjITJAMESBUCKMAN furtherallegesthatdefendants,andeachof
         them,cannotestablishpossessionand propertransferand/orEndorsementofthe
         Prom issory Noteandproperassignm entoftheDeedofTrustherein;therefore,
         noneoftheDefendants,andeach ofthem zdonothavetheabilitytoestablishthat
         m ortgagesthatsecuretheindebtness,orNote,w erelegallyorproperlyacquired.




                38,PlaintiffJAMESBUCKMAN allegesthatanactualcontroversyhas
         arisen and now existbetw een the Plaintiffand Defendants,and each ofthem .
         PlaintiftJAMESBUCKMAN desiresajudicialdeterminationanddeclarationofits
         rightswith regard to theProperty,especially becausetheMortgage and Note was
         neversignedandthecorresponding Prom issorynoteandDeedofTrust.plaintiff
         JAMESBUCKMAN alsoseeksredressfrom Defendantsidentified herein for
         dam ages,forotherinjunctivereliefandforcancellationofwritteninstruments
         based upon:
                 d.An invalid and unperfected security interestin PlaintiffsHome herein
         afterdescribed;

                e.Void''True Saletsl'violatingFLORIDA law andexpresstermsofthe
         poolingandservicingAgreement(''PSA' ')governingthesecuritization ofPlaintiffs
         m ortgage'
                                               55
CaseCase
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                f,An incom pleteand ineffectualperfection ofasecurity interestin
         Plaintiffs Hom e;

                  TH ER E IS ABSO LU TELY N O LA NCASTER N OTE A T A LL




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CaseCase
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      BecauseLeroyW illiam sdidnotgototheclosinganddidnotsigntheNotestoLANCASTER
      BANK,so then the Note wasneverAssigned to M ERS,exh.c.
     Assignmentmustberecordedwithin30daysF.5.494.00753.(3)ourAssignment
     W asRECORDED IYEAR AND 5MONTHSAFTER THESALE/CLOSIN G,TheAssignment
     conveyed,sold and signed 10/20/05Recorded 03/21/27,exh.CBecauseMERS
      nevergota LegalAssignm entfrom Lancaster Bank becausetherew asno Leroy
     W illiam 'sM ortgage Notethatexhisted.SoM ERSdid notAssign theM ortgage Noteto
     Deustch Bank.W hich show sthatthisEVICTION isILLEGALTHEfiT 0FTHISPROPERTY,
      w eactuallyhavenorightstooNnproperty.here'sm oreproofIfM ortgageNoteisnot
      recorded by lyeartheM ortgageNoteisvoid.rrhisNotewasneversigned andnever
      RecordedwithLeroyW illiamssignaturefrom lo/zo/osuntiltodaysoMortgageNote
      isvoid .And in violation ofF.S,695.01.and see:Exh.A.

     TheM ortgageNotehasaspaceintherightcornerofM ortgageNoteforthepreparerof
     theNotew herethenam eandpost-officeaddressofthenaturalpersonw hoprepared
     theinstrum entorunderwhosesupervision itw asprepared arelegiblyprinted,type
     W ritten orstam ped upon such instrum ent;thisNote isvoid.And in violation of
     S.695.26(1)(b).F.)AndthentheNotewasconveyedillegallybyLancasterBankto
     MortgageElectronicRegistrationSystems(MERS)withnothirtydayoranynotice
     Asrequired byFloridawhichrendersNoteunenforceableandvoid.F.S.701,02(1)(2)(3),
     Noticerequirem ent-Theborrow erm ustbegivingls-3odaysnoticebeforenoteissold
     orassignedtoanotherentity,(RESPA Law 12U.5.CODE52605)theMortgageNote
     signed10/20/05andtheAssignmentwasonthesamedayofSalewithoutrequired
     Noticealsoin theoriginalfraudulentm ortgagenote PAGE 11 num berzostates
     tllatthesaleofnoteorchangeofservicestheborrow m ustbegivennoticeaccordingto
     RESPA 1aw which is15 to 30 days.Butthe fraudulentAssignm ent wassigned Oct.20tk
      2005,exh.C.thesam edayasthefraudulentclosing,w ritten on thefrontpageofthe
      MortgageNotezexh.A.whichm akesthisAssignmentvoid.F.S.701,02(1)(2)(3).

    Assignmentsm ustbe recorded with in 30 daysaccording to Florida STATUTE
    494,0075.3(2)(3).ThisAssignmentwasrecorded twoyearsaftersalewasillegally
    signed,exh.C.thisAssignm entistotally void.lfAssignm entisnotrecorded by30

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          daystheAssignm entisvoidaccordingtoFloridastatute6gs.ol.TheAssignm entw as
          signedand notarized Oct.20th 2005 butwasrecorded May21St2007,oneyearand 5
          monthslatenExh.c.)(Mcleanv.lpMorgan)saysyoucan'tforeclosebefore
          youow ntheNotelTheAsTignm entfrom M ERsto DeutscheBankisvoidbecause
          assignmentwasmadeafterforeclosurestarted06/20/07,exh,M.andtheMElks
          AssignmenttoDeutscheBankwas08/22/07,exh.N.and(Mcleanv.lpMorgan).
          ILLEGALFAKE NOTARY PUBLICVOIDSOW NERSHIP 0N M ORTGAGE NOTE
          The Notary on the M ortgage Note isaVOID.The Notary stam p m ustcontain
          CommissionorIDnum berptoidentifythepersonifneededtovarifyorincourt,(Our
          M ortgageNotefor1977addresshasnocom m ission orlD num berthat'satallLegible
          tohidetheirthievery seepagelsoftheM ORTGAGE NoteofRecord.
          nviolationofF.s,117.05(3)(A)andF.5.695,26(1),ThisMortgageNotedoesnothave
          proofofidentityofsignerasrequiredinviolation ofF.S.117.05#(S)and(S)(a)see
          exh.C.pagez.atm iddleofthepaperxTheNotariesnam em ustbeprinted undertheir
          signaturezon 1977 MortgageNotethereisnoprinted nam eundertheNotary Public
          ignature in violation ofthefakeAssignm enttoM ERS.lsvoid ofseeexh.C.Page2.
          F5.695,26(1)(D)(El.New lerseynotarystamprulesisthesameasFloridarules,the
          New Jersey notary of2005lookstotally differentfrom theFraudulentoneon our
          Mortgagenote,exh.p.andC,rfheStateofNew lerseyNotarystamponourmortgage
          assignm entiSaCOM EPLETLY MADE UPFRAUD!Exh.c.page2.and isapunishable
          felony,5.775.082 775.083orS.715.84.ILLEGAL FAKE NOTARY PUBLIC VOIDS
          0W N ERSHIP 0N M0 RTGAGE ASSIGN M ENT M usthaveatleastonew itness.There is
          nowith witnesson ourMortgageAssignmentin violationof,F.S,117.05 (b)
          1,a.b.c.d.e,seeeKh.c.pagez.theAssignm ent is void.TheNotaryontheAssignm ent
          isafake.TheNotary stam p m ustcontain com m ission orID number,to identifythe
          personifneededtovarify orin court,(OurMortgageNoteforlg77addresshasno
          com mission orID num bertohidetheirthieveryinviolation ofF.S.117.05(3)(A)
          andF.S.695.26(1).seeexh.C.PAGE 2.Thenameofeachperson who executed such
          instrumentislegibly printed,typewritten,orstamped upon such instrum ent
          imm ediately beneath the signatureofsuch person and thepost-office addressofeach
          such person islegibly printed,typewritten,orstam ped upon such instrum ent in
          violation ofF.S.695.01(1)AND F.S.695.26(1)(a)andF.S.494,0075(5)and
          7el.e2(1)(2)(3)exh.A.
                                         56
             Reconveyanccupon paym entofallsum s secured by thtssecurity
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          lnstnlment.IC
                      'LA.STA 'FUE 95.1lCAL CODE CIVIL PROCEDURE 760.020
          Plaintiflh


           Kellyv.upshaw.39Cal2d179.192246P2d23(1952):Hydev.M angan,88Ca1.319.
           327,26p.180(1891):Polhemusv.Trainer.30Csl.6b5.688
           1866 W L 831(1866).SeeJolmson v.Razcy.Ca1.342.344,l84.P 657(1919).

             Thenfnm fulconductot'theabovespecifieddefkndantsand eachofthem .unless
           restrainedand enjoinedby an orderofthecourt.willcontinuetocausegreatand
           iaeparebleha= toplaintiff.plaintiffwillnothavethebenefieialriseandenjoyment
           ofitshom eand w illlosethe property.

                                     CO U N T

                       Florida Deceptive and U nfair Trade Practice
                            ActAs to aIlD efendants exceptSF

               Plaintiff realleges and incorporatesparagraphs 1-58 asthough fully set
          forth in this'paragraph.


      39.The Florida Deceptive and UnfairTrade PracticesAct(FDUTPA)provifles
         fora civilcause ofaction for''lulnconsciable acts orpractices,and unfair
         ol deceptive acts or practices in the conduct ofany trade or com m erce.''

         FLA.STAT.j501.20491 (2005).
      öo.rrhis is an action for injunctive and declaratory rellef pursuant to the Florida
          Deceptive and Unfair Trade Practices Aet,Florida Statrites jj 501.201,elseq.
         (hereinafter''theAct')and Chapter86,FLA.STAT.


                                                16

      g. The provisionsofthe Actare to be liberally construed to prom ote the
         follow ing policies:

                  . To sim plify, clarify, and m odernize the law governing
                       consum er protection, unfair m cthods of com petition, and
                       llnf-nnqrinnahlp flpf-pntive.and llnfairtrade nrnctices:and
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   .T//-,
       *,Av./          >--            'y            -o2 o r.zC'èr,v6 &/4
                         / N Y''Z V*M ?           zd
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                                                      z/z/z,o'F /a
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                           UN ITED STATES D ISTRICT CO UR T
                            SOUTHERN DISTRICT OF TEXAS


       M AURICE SYM ONETTE

        Plaintiffs
                                                          cAsE:19-cv-          2%/+ y
       V s.


       DEUTSCHE BANK N .A.TRUST CO.ET.AL.
       Defendants
                                               /


                       EM ERGENCY M OTION TO STOP EVIW ION


       EM ERGENCY M OTIO N TO STO P ILLEGAL EVIW ION W ITH NEW LY DISCOVERED
       EVIDENCE-AND FRAUD FEDERALRULE60(B)(2)(4)(6)AND Fla.R.ofCiv.Prot.
        1540 (b)(21STANDING CAN BEQUESTIONED AT ANG IM E FEDERALRULE3.1


        ThisiséofllFrnud.M EM an# Deutschee nklsbreuking JllLuwsto tlke our
       propedyberauselasKarkJforTrump huvebeentrelted budwftllBLACKMEGA
       Dlrr/mfnat/onbecuuseofmehelpigRepublkunsfrom B&<l$K OTTto TRUM P.
        New ly discovered evidence and frau ,M arch 4tb2018,w e wentto the Dqde County
        records Departm entbecause aIlM o gage Notesare Required to be Recorded w ith
        OriginalSignaturesF.S.701.02(1)(2)(3)exh.A.and.W ediscoveredthatthe
        LancasterM ORTGAGE NOTE has absolutely no signatures ofthe so called buyer
        (LeroyW illiams)onNoteasRequiredbyF.S.695.26(1)(a),whichcausedmeto
        searchthewholerecordtodiscoverthatAIlBuyer's(LeroyW illiam's)SIGNATURES
        and INTIALS are alIBlacked Outand the blacked outsignature as show n on
        godsz.com #lshowingDade County ClerkGuettyJean#217325 behind Clerk'sdesk
        behind protective glass.She'son video afterred stam ping and putting m y paym ent
        receipton theCertified so called LeroyW illiamsshowing M ortgage Noteon Cam era,
        video showsblacked outini  tialson LancasterNote.And two m anagersofthe Clerk's
        officesayingthere'snoway thisNote should have been puton Recorded without
        theSignature,godsz.com and IrecordedthisaIIondocketforLeroy W illiam sthere's
        no signed M ortgage,Prom issoryorPrepaymentRiderRecorded in DadeCounty.
        There is no Iost Note countin Deustche Bank Com plaintand M ERS isnot Iisted in the
        Note asNom inee oranythingatall,exh.A.W hichiswhytheydid a Fake M ortgage
        Assignm entw hich included the Prom issory Note as stated on the bottom ofthe
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       Assigned note from LancasterBankto M ERS exh.C.,signed by the Vice Presidentof
       Lancaster(DarlenePerera)thesameladywhoontheexactsamedateshesigneda
       fakeAllongeto anotherBankcalled lndy M acBank,ijlegalseeexhibitCC 1-5you
       can'tsella Noteto two differententitiesespeciallyonthe sam edate and did not
       record the assignm entuntil2007 1 yearand 5 m onths aftersale w hich m akesthe
       notevoid accordingto F.S.exh.C.Allowingan unsigned M ortgage Noteto be
       Recorded in Florida w hich isa Felony,F.S.817.2341 and 775.082,775.083 and
       775.084.And are aIIforgeriesthatcan alm ost be seen underthe blacked outink
       w hen com paring thatsignature to the othersignatures ofthe othernotes w i  th the
       correctsignature see the Plaintiffs Lancster's Recorded Note show sNote hasa
       w rong forged signature thatyou can see underthe blacked outsignature,exh.A.    .

       Thisisthe Correct Lerov W illiam 's realsignature from the othernote from real
        Recorded Note ofLerov W illiam sotherpropertv.From a realClosings.see pgs.16
       and 20 of,exh.B1 and B2.And Flam ingo Title Com pany wassued by Attorney Title
       Insurance Co.Because ofm oney given butno Note,exh.F1,F2,F3,.And no vali:
       W arranty Deed because AlexanderM orera w as notthere and did not sign the
       W arranty Deed,exh.G.One ofthe oW nersofthe hom e 1977 ne 119throad M iam i
        33181,Jam es Buckm an w as notatthe closing,see affidavit exb.H.and Jam es
        Buckm an did notsign anything as itAPPEARED on the fake W arrenty Deed,exh-G.
        See Jam esBuckm an's realsignature on driverslicense,exh.H2.Som eone illegally
        signed forJamesBuchman.See Affidavitfrom M aurice Symonette anotherowner
       sayingthathe(Maurice)wastheirattheAngrywipedoutnonclosingandwitnessed
       thatJam esBuckm an,TannerCarter,AlexanderM orera nordid Leroy W illiam sshow
       uptotbeclosingandtheW arrantyDeedwasnotsigned,seeexh.6 Affidavitfrom
       Jam es Buckm an stateing that he w as not atthe closing so there w as no Legal
       W arranty filed on the Record!So paym entscontinued to Bank,exh.S1,S2,S3.and
       then EM C M ortgage Bank EM C.M ortgage co.wrote and said m ake aIlpaym entsto
       INDY M AC BANK,exh.T.And Paym entsw ere m ade on tim e even six m onths after
        DeutscheBankForeclosurewasstarted06/20/2007,exh.M.Seereceiptsshowing
        payments06/19/07to09/29/074monthsafterDeutscheBankforeclosurestarted
        exh.K1,K2,K3,'K4.And unknown Bank.Deustch Bank LisPendance datefiled with
        no Due Process Notice to us,see page 11 ofDade Docketexh.0.This filed w hile
        Paym entswerestillbeing made and on TIM E,exh.5.And noticethe Note blacked
        outthe Loan Num berso thatyou could notcheckit,exh.A.



                      THERE IS ABSOLUTEW NO LANCASTER NOTE AT ALL



        A.)BecauseLeroyW illiamsdidnotgototheClosingand did notsigntheNotesto
        LANCASTER BANK,so then the Note w as neverAssigned to M ERS,exhwc.

        B.)Assignmentmustberecordedwithin30daysF.S.494.00753.(3)ourAssignment
        WASRECORDED 1YEARAND5MONTHSAFTERTHESALE/CLOSING,TheAssignment
        conveyed,soldandsigned10/20/05Recorded03/21/27,exh.C.
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       C.)BecauseMERSnevergotaLegalAssignmentfrom LancasterBankbecausethere
       was no Leroy W illiam 's M ortgage Note thatexhisted.So M ERS did notAssign the
       M ortgage Note to Deustch Bank.W hich showsthatthis EVICTION is ILLEGALTHEFT
       OFTHIS PROPERTY,we actually have no rightsto ow n property.here's m ore proof.


       D.)IfMortgageNoteisnotrecordedby1yeartbeMortgageNoteisvoid.ThisNote
       wasneversignedandneverRecordedwithLeroyW illiamssignaturefrom 10/20/05
       untiltoday so M ortgage Note isvoid .And in violation ofF.S.695.01.and see:Exh.A.


       E.)TheMortgageNotehasaspaceintherightcornerofMortgageNoteforthe
       preparerofthe Note w herethe nam e and post-office address ofthe naturalperson
       w ho prepared the instrum entorunderw hose supervision itw as p'
                                                                      repared are Iegibly
       printed,typew ritten,orstam ped upon such instrum ent;this Note is void.And in
       violationofF.S.695.26(1)(b).
       F.)AndthentheNotewasConveyedillegallybyLancasterBanktoMortgage
       ElectronicRegistrationSystems(MERS)withnothirtydayoranynoticeAsrequired
       byFloridawhichrendersNoteunenforceableandvoid.F.S.701.02(1)42)43).Notice
       requirem ent-The borrow erm ust be giving 15-30 daysnotice before note'is sold or
       assignedtoanotherentity.(RESPA Law 12U.S.CODEj 2605)theMortgageNote
       signed 10/20/05andtheAssignmentwasonthesamedayofSalewithoutrequired
       Notice also in the originalfraudulentm ortgage note PAGE 11 num ber20 statesthat
       the sale ofnote orchange ofservicesthe borrow m ustbe given notice according to
       RESPA Iaw w hich is 15 to 30 days.Butthe fraudulentAssignm entw assigned Oct.
       20tb2005,exh.E.the sam e day asthe fraudulentclosing,w ritten on the front page
       oftheMortgageNote,exh.A.whichmakesthisAssignmentvoid.F.S.701.02(1)(2)(3).
       G.)Assignmentsmustberecordedwithin30daysaccordingto FloridaSTATUTE
       494.0075.3(2)(3).ThisAssignmentwasrecordedtwoyealsaftersalewasillegally
       signed,exh.C.thisAssignm entistotally void.

       H.)IfAssignmentisnotrecordedby1yeartheAssignmentisvoidaccordingto
       Florida statute 695.01.The Assignm entw as signed and notarized Oct.20th2005 but
       w as recorded M ay 21St2007,one yearand 5 m onths Iater.Exh.C.

       1. ) (Mcleanv.JpMorgan)saysyoucan'tforeclosebeforeyouowntheNotel
       TheAssignmentfrom MERSto Deutsche BankisVoid because assignmentwasmade
       aflerforeclosurestarted06/20/07,exh.M .andtheMERSAssignmenttoDeutsche
       Bankwas08/22/07,exh.N.and(Mcleanv.JpMorgan).       '             .'

          ILLEGAL FAKE NOTARY PUBLIC VOIDS OW NERSHIP O N M ORTGAGE NOTE
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       The Notary on the M ortgage Note is a VOID.The Notary stam p m ustcontain
       commissionorID number,toidentifythepersonifneededtovarifyorincourt (Our
       M ortgage Note for1977 address has no com m ission orID num berthat's ataII
       Legible to hide theirthieverysee page 15 ofthç M ORTGAGE NoteofRecord.in
       violationofF.S.117.05(3)(A)andF.S.695.26(1).
       ThisM ortgage Note doesnot have proofofidentity ofsigneras required in violation
       ofF.S.117.05#45)and(5)(a)seeexh.C.page2.atmiddleofthepaper.
       The Notariesnam e m ustbe printed undertheirsignature,on 1977 M ortgage Note
       there isno printed nam e underthe Notary Public signature in violation ofthe fake
       Assignmentto MERS.Isvoidofseeexh.C.Page2.F.S.695.26(1)(D)(E).
       New Jersey notary stam p rules isthe sam e as Florida rules,the New Jersey notary of
       2005 Iookstotally diferentfrom the Fraudulentone on ourM ortgage note,exh. P.
       and C.The State ofNew Jersey Notary stam p on ourm ortgage assignm ent is a
       COM EPLETLY M ADE UP FRAUD!Exh.C.page 2.and is a punishable felony,s.775.082
       775.083 or5.715.84.



          ILLEGAL FAKE NOTARY PUBLIC VOIDS OW NERSHIP O N M ORTGAGE ASSIGNM ENT



       M usthave atIeastone w itness.There is no with w itness on ourM ortgage
       Assignmentinviolationof,F.S.117.05(b)1.a.b.c.d.e.seeexh.C.page2.the
       Assignm entisvoid.

       The Notary on the Assignm ent is a fake.The Notary stam p m ustcontain com m ission
       orID number,toidentifythepersonifneededtovarifyorincourt,(OurMortgage
       Note for1977 address hasno com m ission orID num berto hide theirthievery in
       violationofF.S.117.05(3)(A)and F.S.695.26(1).seeexh.C.PAGE2.
       The name ofeach personwho executed such instrumentislegiblyprinted,type
       w ritten,orstam ped upon such instrum entim m ediately beneath the signature of
       such personand thepost-officeaddressofeach such person islegibly printed,
       typewritten,orstampeduponsuchinstrumentinviolationofF.S.695.01(1)AND F.S.
       695.26(1)(a)and F.S.494.0075(5)andF.S.701.02(1)(2)(3)exh.A.


                              NEVER BEHIND ON PAYM ENTS


       W e w ere m aking paym entsto EM C M ortgage see:exh.S1 -S3,w hatwasthe
       AlexandçrMorera M ortgage Note becausethebuyerLeroyW illiamsfrom seller
Case 1:19-cv-24184-MGC Document 43 Entered on FLSD Docket 08/07/2020 Page 75 of 92




       AlexanderM orera closing did not happen and then EM C M ortgage Transferred the
       Note to Indy M ac Bank,exh.j.W e m ade paym entsto lndy M ac Bank exh.K1-K5.
       W e w ere m aking those paym entsfarafterDeutsche Bank filed the no Due Process of
       Services Notice Foreclosure h up untilthey gotthe Defaultjudgem entagainstus
       w e paid EM C,exh.S1 -53 then the new bank Deutsche banksom e how stop taking
       ouron tim e Paym entsAnd refused to take paym entsfrom usafterthey secretly got
       aj.And now thisnew Bankwho haveharassed us,helped sinkm yboatin myback
       yard,Godsz.com #10 A.and broke into m y house and stole from us,see police
       reportexh.Y.And now thisFraudulentDuetsche Bank is now Evicting us from the
       house exh.G.w ith the help ofthe Clerkofthe Courts.See video ofClerks have
       allow ed unsigned NotesIike oursto be illegally recorded and then banksforeclose
       onu with no Note even ifyou are paying ontime withthe helpofthejudge who
       w ithoutseeing the Note thatisCom pletely FRAUDULENT Blacked outsignatuers
       from the Dade County RecordsDept.W OW Godsz.com atthe top ofthe w eb site #
       AA.and AB..Thev m ustbe stoppedl!!!this EVICTIO N IS ILLEGALAND lJUST
         REPO RTED TO THE FTC TO PRESIDENT TRUM P'S NEW BANK FRAUD TASK FORCE!l!




                        HISTO RY OF THIS FRAUD AND HOW THEY DlD IT!


       J
       The property w asquitclaim ed by ow nerAlexanderM orera overto Tanna Carter,
       JamesBuckmanandto himself(ALEXANDERMORERA)10/01/04,exh.D1.W ehada
       lease w itb an option to buy for14,000.00 a m onth,exh.E.AIl.before LancasterBank
       Fraudulently Recorded an unsigned blacked outM ortgage Note exh.A.And before
       the so called sale to Leroy W illiam s,and AlexanderM orera,Tanna Carterand Jam es
       LittlejohnquitclaimeditovertoJamesLittlejohnand LeroyW illiams12/06/04,exh.
       D2.ThenLeroyW illiamsquitclaimed itsolelytoJamesLittlejohn07/08/06,exh.
       D3.JamesLittlelohnthen Quitclaimed itbackto himself,RobertClarkand Leroy
       W illiamson02/05/2008,exh.D4.AndJamesLittlejohn,RobertCllarkand Leroy
       W illiamsquitclaim ed itto JamesLittlejohn,exh.D5.IastlyJam esLittlejohn quititto
       MauriceSymonette,JamesLittlejohnand MicahielNichloson01/01/07,.exh.D6.
       There w assupposed to be a Sale Closing on the house butLeroy W illiam s did not
       show up and AlexanderM orera did not show up because he quitClaim ed the
       property before the so called closing date and could notbe found.Afterarguing.
       Alexande M orera and Leroy W illiam sdid not sign thq Notesand the closing Docs,but
       som ehow the title com pany orsom e one keptthe m oney.The Proofofthis is
       AttorneyTitle InsuranceFund(ATIF)suedFlamingoTitleServicesInc.whowas
       supposed to do the closing on the house.ATIF Accused them ofkeeping the m oney
       from the closing that did nothappen w ith Leroy W illiam s,exh FI*-F6.W HICH W AS
       SOM EHOW RESOLVED between FlamingoTitle andTitle Insurance Com pany,see exh.
       F1.& t2.On the same day ofOct.20,2005,and a Ietterhad cam eto tellusthatthey
       w ould not be accepting paym entsfrom usto ourform erbank and thatitw ould be
       goinktoIndyMacBankandweweremakingthepaymentstoIndyMacandthen
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       three monthsIaterDeutsche Bankfileda foreclosure againstusthatwe didn'tknow
       they had filed which is no Due Process and then suddenly Deutsche Bank senta
       paym ent m ohey backto us and then told usthatthey w ould notbe accepting
       paym entsfrom us anym ore because they were foreclosing on us butwe w ere paying
       EM C and Indy M ac Bank and w e replied to them to prove theirdept.exh.Z.W e had
       no idea w ho Deutsche Bank was and thatthey w ere foreclosing on uspw e found out
       Deutsche bank wasassigned the note by M ERS exh.H.and w ithoutNoticing the
       buyerasrequired byRESPA 12U.S.CODEj 2605andAccordingto F.S.701.0241)(2)(3)
       and also in the originalfraudulentm ortgage note PAGE 11 num ber20 w hich states
       thatthe sale ofthe note orchange ofservicerthe borrow m ust be given notice
       according to RESPA law 15 to 30 days Florida Statute M ERS gotthe Note from
       Lancasterbank butLancasterneverhad a closing w ith Leroy W illiam s.
       Notice requirem ent-The borrowerm ustbe giving 15-30 daysnotice before note is
       soldorassignedtoanotherentity.(RESPA Law 12U.S.CODEj2605),F.S701.02(1)
       and also in the originalfraudulentm ortgage note PAGE 11 num ber20 statesthatthe
       sale ofnote orchange ofservicesthe borrow m ustbe given notice according to
       RESPA Iaw w hich is 15 to 30 days.Butthe fraudulentAssignm entwas signed Oct.20tb
       2005,exh.C.the sam e day asthe fraudulentclosing,w ritten on the frontpage ofthe
       M ortgage Assignm ent,exh.C.w hich m akes thisAssignm entvoid.
         (1)No instrumentbywhichthetitletorealpropertyoranyinteresttherein
        conveyed,assigned,encum bered,orotherw ise disposed ofshallbe recorded by the
        clerk ofthe clerk unless

                                THIS M ORTGAG E NOTE IS FRAUD

        Fraud because in #20 O FThe m ortgage Note itsaysin accordance w ith RESPA
        Disclosure aftersettlem ent Iaw they m ustgive buyer 15 days before selling the Note.
        Buttheirsaying they sold assigned Note the sam e day assettlem entw hich voidsout
        AssignmentF.S.701.02(1)(2)(3).
        THE M ORTGAGE NOTE HAS NO SIGNATURES W HICH IS ALSO CLERK FRAUD.
        F. S.701.04 YO U M UST RECORD ASSIGNM ENT W ITH 60 DAYS,ourAssignm entwas
        signedOct.20,2005butrecorded03/21/07=Voidtheirisno addressorLegal
        description on the Note.
        G.

                                    CERTIFICAT: QFSCRVIC;

                 IHEREBYCERTIFYthaton 07/77/2019atrueandcorrect
               copy ofthe foregoing is being furnished by hand to:BLA N K
               RO M E LLP 500 E.BROW ARD BLVD.STE.2100 FT.LAUD.FL
               33394
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           Courtimmediatelytakejurisdictionofthismatterand enteranOrder

           granting a Dissm issalofthis Case expressly precluding and cancelling the

           foreclosure Eviction and thatthe Courtgrantsuch otherand further

           reliefasthe Courtdeemsequitable,appropriate andjust.

               Respectfullysubmittedthis 7Z jayofgyj
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                                                           M aurice Sym onette PlaintiffPro Se
                                                           4711 U ParkwaySugarIand Texas
                                                           77479 Unit4208
           '       '   #

           Phone:786-859-9421
                                                     VERIFICATION


           Plaintiff/petitionerM auriceSymonette herebyverifies,underpenaltyof
           perjury,verifiesthathe has read theforegoing Petition forDeclaratory
           Reliefto QuietTitle and M otion forTem porary Restraining Orderand
           thatthe factscontainedtherein aretrue and correct.             --




                                                            M aurice Sym onette
                                                           4711 U Parkw ay SugarIand Texas
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                                                              13. Florida Deceptive and Unfair
                                                                   Trade Practice

                                                              14. Illegal Consumer Collection


                                                         15 VIOLATION OF
                                                     THE 1964 CIVIL RIGHTS ACT




                                COMPLAINT FOR QUIET TITLE




     COMES NOW the Plaintiffs MAURICE SYMONETTE AND JAMES BUCKMAN, who are third
      party persons to QUITE TITLE AMENDED COMPLAINT VERIFIED PETITION FOR
      DECLARATORYRELIEFANDIUDGMENTastothispropertywhowerenotapartyto
      the Foreclosure According to ~he 3DCA Case NO: 3D19-0821 LOWER TRIBUNAL 2007-
        18226 CA-01 on front page of Appealle's Motion to Dismiss the appeal #3, thereby
            eliminating Res Judicata and Rooker Feildman on Plaintiffs, Exhibit, A2.



                              (P JURY TRIAL DEMANDED




       ("Plaintiff),complaining about the Defendants as named above, and each orthem, as
                                                3
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                                                follows



                             PARTIES that Share interest in the Property:

          1. Plaintiff MAURICE SYMON ETTE is now, atld at all times relevant to this action, a
   resident of the County of DADE, State of FLORIDA. and a holder of the Title to this said property
          IA. Plaintiff James Buckman is now and at all times relavant to this action a resident
           of Dade County and a holder of title to this said property.


          2. Lancaster Mortgage Bank LLC Defendant, who may have interest in the subject
          Property. JAMES BUCKMAN is informed and believe, and there on allege that,
          Defendant LANCASTER Mortgage Bank LLC, is a corporation, doing business in the
          County ofDADE, State ofFLO RIDA and is the purported Sponsor for Securitized Trust
          and/or

          purported participant in the imperfect securitization of Note and/or the Deed of Trust
          as more particularly described in this Complaint. who's address is 1794 Oregon PIKE
          LANCASTER P.A. 17601.


          3. DEUTSCHE BANK NATJONAL TRUST COMPANY AS TRUSTEE, UNDER THE POOLING
          AND SERVICING AGREEMENT SERIES RAST 2006-AS (CSFB), who claims to own the
          SubjectPropertyC/OOCWEN: Vault Dept. who's address is 1761 East.SaintAndrews
          Place. Santa Ana California. 92705


          4. U.S. TREASURY/IRS who's address is 1500 Pennsylvania Ave., N.W. Washington, D.C.
          20220.


              The UNITED STATES Treasury may have interest in this because the note was sold
       in RI MIC which by law had to destroy the Note to turn it into a Bond or a stock because the
          Note cannot exist at the same time as the Bond, because that would be called double-
         dippingand because the Notewasdestrqyed The U.S. Internal Revenue (U.S. Treasury)
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            gave Deutsche Bank National Trust Company As Trustee, Under The Pooling And Servicing
             Agreement Series Rast 2006-AS (CSFB) a Tax wright off from the U.S. Treasury as a loss
             which gives The U.S. Treasury interest in the property so therefore the title must be
            Quieted concerning The U.S. Treasury. Quite TITLE is the sole reason that 1 am
                 Suing the SEC and the us dept. of the Treasury/IRS in this Complaint.



              5. SECURITY AND EXCHANGE COMMISSION who's address is 801 Brickell AVE. #1800
              Miami FL. 33131.




                                         CLAIM OF RELIEF


11). Plaintiff Brings this action against DEUTSCHE BANK NATJONAL TRUST COMPANY AS TRUSTEE, UNDER THE


POOLING AND SERVICING AGREEMENT SERIES RAST2006-A8 (CSFB) from now seen as DEUTSCHE BANK

NATJONAL TRUST. and Does 1- 88 for selling Plaintiffs property At a Foreclosure sale to Deprive plaintiffs of their

Residence without any lawful claim to the property and for using RACISM and DISCRIMINATION by DEUTSCHE


BANK NATJONAL TRUST lying to the Police saying we are not allowed in the house who removed us from the house

without legally evicted earlier to evict us out of the house without a Court Order because we are BLACK. And for

rico colluding to steal our house.




                    The SECURITY AND EXCHANGE COMMISSION (SEC) may have

             interest in this because the fake Note was sold on the Market Governed
                                                         5
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              by the SEC as evidenced by the fact that DEUTCHE BANK NATIONAL

              TRUST COMPANY AS TRUSTEE, UNDER THE POOLING AND

              SERVICING AGREEMENT SERIES RAST 2006-AB (CSFB), which is

              The PSA SEC

              Stock and Bond Marhet therefore The Title must be Quieted

              Aeainst the SEC. Ouite TITLE is the sole reason that I am Suine the

              SEC and the us dent. of the Treasurv /IRS in this Comnlaint.



               Defendant, LANCASTER Mortgage Bank LLC Plaintiff JAMES
               BUCKMAN is informed and believe, and there on ailege that,
               Defendant LANCASTER Mortgage Bank LLC, isa corporation, doing
               business in the County of DADE, State of FLORIDA and is the
               purported Sponsor for Securitized Trust and/or purported participant
               in the imperfect securitization of Note and/or the Deed of Trust as
               more particularly described in this Complaint.


         2. Defendant, LANCASTER Mortgage Bank LLC. Plaintiff JAMES BUCKMAN is
         informedand believe, and thereon allege that, Defendant LANCASTER
         Mortgage Bank LLC, is a corporation, doing business in the County of DADE,
         State of FLORIDA and is the purported Master Servicer for Securitized Trust
         and/or a purported participant in the imperfect securitization of the Note
         and/or the Deed of Trust as more particularly ascribed in this Complaint,


                   3. At all times relevant to this action, Plaintiff JAMES
              BUCKMAN has owned the Property located at 1977 NE 119th RD
              MIAMI Eh. 33181 (the"property").
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                     4. Plaintiff JAMES BUCKMAN is informed and believe, and

              thereon allege, that at all times herein mentioned, each of the
              Defendants were the agents, employees, servant and/or the joint-
              ventures of the remaining Defendants, and each
              Of them, and in doing the things alleged herein below, were acting within the
              course and scope of such agency, employment and/or joint venture.

                              INTRODUCTION IURISDICTION AND VENUE

                     5. The transactions and events which are the subject matter
              ofthis Complaint all occurred within the County of DADE, State of
              FLORIDA. and the United States DEALING WITH THE U.S. TREASURY
              ANDTHEFEDERAL SECURITIES AND EXCHANGE COMMISSION
              (SEC) along with Federal Violations gives this Federal Court
              Jurisdiction.


                     6. The Property is located within the County of DADE, State of FLORI

              DA with and address of 1977 NE 119th RD MIAMI FL. 33181. Maurice

              Symonette I live in the of Texas Defendants/Respondents are citizens of the

              States of Oregon, CA, DC, New York and Florida. There is complete diversity

              of citizenship between Plaintiff/ Petitioner and Defendants/Respondents.



                     Petitioners seek to quiet title to Petitioners' property. The amount in

              controversy exceeds $75,000.00.


                                      BACKGROUND
     16. On information and belief, Deutshe Bank & Lancaster could not prove the
        terms of the instrument and its right to enforce the instrument. The court
        may not enter judgment in favor of the person seeking enforcement unless
        it finds that the person required to pay the instrument is adequately
        protected against loss that might occur by reason of a claim by another
        person to enforce the instrument. That never exhisted Fla. Stat. §
        673.3091(2).
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     17. On information and belief, Plaintiff specifically denied all necessary terms
         of the note were provided in the mortgage attached to the 2007 because
         the note and Mortgage has no signatures or initials foreclosure complaint.
         The note attached to the foreclosure complaint and Plaintiffs challenged
         Deutshe Bank & Lancaster standing in this case with no closing sinatures ..
     18. Neither Deutshe Bank or Lancaster could allege sufficient facts
         establishing that either was entitled to enforce the purported debt or
         otherwise establish either entity's standing before this Court in the 2007
         case. SiiTlply put, neither entity can be entitled to enforce the note it
         claimed it owned with no signatures and intentionally withheld this
         material information from the Plaintiffs and this Court by asserting that
         they were entitled to collect the alleged defaulted debt in this fake case.
     19. Deutshe Bank & Lancaster therefore, failed to allege in its foreclosure
         complaint any ultimate facts whatsoever placing either within the chain of
         ownership of the purpolted note and mortgage. Plaintiff draws the Court's
         attention to Uniform Commercial Code, especially but not limited to UCC
         3-604. Buckman avers that there are serious questions about the
         legitimacy of the instant foreclosure complaint filed in 2007 by Deutshe
         Bank, which also raise
         questions about how they got the unsigned Mortgage illegally on Dade County
         Records came into possession of the note and whether it actually owns the note.
         If we do not raise these objections and another socalled owner would later make
         a claim against us, we would not have the defense of having acted in good faith,
         and would not be protected against such third party fake Claims under UCC 3-
         604. Therefore we are entitled to a declaratory ruling of relief by the Court.
     20. In 2006, "WaMu" filed for foreclosure, claiming to be the owner and
         holder. It claimed the original note was lost and was left to prove how it
         came into possession of the note and how it was lost. To date, Washington
         Mutual Bank, has not brought such proof.

     21. The JPMC proof of claim in the 2007 bankruptcy proceeding was filed on
         the basis of JPMC being the purchaser of the loans and other assets of
         WaMu. As evidence of debt, JPMC included an assignment of mortgage
         from the original lender, NAMCO to Washington Mutual Bank- the
         previously claimed lost note had suddenly been found.



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     22. Either, WaMu in the instant complaint misrepresented that the note was
         lost to the Court, as it apparently was easy to find or it would not have
         "found" it in the 2007 case, or it was not the party in possession of the
         note when it was lost and for which it has the burden of proof that it did, a
         requirement under UCC for filing a lost note affidavit.

     23. Under UCC, specifically, UCC Section l-201(b)(21)(A), one can only be a
         holder as the payee on the note or by a bearer endorsement in blank,
         otherwise one is a nonholder in possession of the [note] who has the
         rights of a holder. However, there was never a closing on the Lancaster
         Note so all of this is void.

     24. If Lancaster Bank could not plead status of a holder by a bearer
         endorsement , then Deutshe Bank cannot do so either. In fact, JPMC
         statement in its proof of claim in the Bankruptcy case, that it Deutshe Bank
         was Assigned the Mortgage by MERS from Lancaster There is not a shred
         of evidence in the instant case of 2007 case on the instant loan ever
         exhisted as an asset of Deutshe Bank or Lancaster Bank.

                                     ,.

     25. It follows that the foreclosure filing in 2007 is moot. The role of JPMC
         which solely rests on the inadequate indorsement in blank by State Street
         does not confer any entitlement herein to enforce the note to Deutshe
         Bank &. also fails as a successor to any claim by Lancaster, since Deutshe
         Bank itself would only have been a holder by virtue of the flawed
         endorsement of the Not and Mortgage to Deutshe Bank from Lancaster.
         This clearly shows that Deutshe Bank or Lancaster was not in possession
         of any Note that it claims in this case from 2007 or entitled to file a lost
         note affidavit by being the last in the chain of custody. Again, foreclosure is
         a "freeze frame" proceeding, the lack of standing and capacity by Wc1Mu in
         2007 cannot be repaired afterwards, whether by WaMu


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   itself or even less, Deutshe Bank. In addition Deutshe Bank could only become
   successor holder of the subject loan if there was a signture on the Mortgage and Note
   or real signatures on a Warrenty Deed of sale which never happened we must see the
   evidenced on the Lancasters Bank's general accounting ledger.

26. Under the applicable law, any "servicer" which acquires a bad debt, such as
    one in foreclosure, is deemed a "debt collector." If Lancaster Bank disputes
    this identity it must set forth clear and convincing evidence to the contrary.
    Further, whether a party is a "debt collectoi" under the relevant statutes also
    relates the amount of debt collecting it performs compared to servicing. A
    significant portion of defendants Deutshe Bank MERS or Lancaster entities
    business, through robo-signors such as Dory Goebel is "debt collection." This is
    especially true considering the failure rate of the loans it initiates collection
    processes which were originated from a third party.
27. In addition to joint and several liability for misconduct among joint
    Tortfeasors, defendants have also operated as a common enterprise, and each
    of them is jointly and severally liable for the acts and practices alleged herein.
    No alleged owner of the beneficial interest in the subject unsigned promissory
    note and mortgage was a holder in due course. All references to defendants'
    "misrepresentations" are defined as fraudulent misrepresentations, reckless
    and wanton misrepresentations, and/or negligent misrepresentations,
    regardless of whether referred to as "misrepresentation" or "intentional
    misrepresentation" or "fraudulent misrepresentation," or any other
    characterization of the misrepresentation at issue,



                                       BACKGROUND FACTS

                                                 lo
                This is an in rem proceeding pursuant to Florida Statutes Chapter 65 and

          Federal Law, directed against Petitioners' property situated within the boundaries

          of Miami-Dade County. By virtue of a unsigned fake Note and Mortgage act

          OCTOBER 20, 2005

          and filed illegally for record NOV. 16, 2005, recorded in Book 23966 PAGE 346S of


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        the Public Records of Miami-Dade County, 1-lorida, fraudulently saying Leroy

        Williams purchased the subject property and gave a Note and Mortgage in favor of

        Lancaster Mortgage Banking, a Massachusetts Corporation. Allegedly In favor of

        Lancaster Bank the fake Mortgage was Assigned to MERS with no Notary illegally on

        the same day of a no Closing illegally without a 30 day notice or any notice to the

        fake buyer. They Assigned theMortgage to MERS Oct. 20, 2005, Attached hereto and

        made a part hereof as Plaintiff/Petitioner's Complaint, Exhibit "C". conv of the

        subiect fake   Assignment    and Mortgage and     Note. Defendant Deutsche Bank

        National Trust was assigned the Note by Mers Who never had an assignment and

        MERS was not acting as nominee for Lancaster so Deutch bank foreclosed with out

       any standing. Plaintiff/Petitioner challenges the legal standing of

       Defendants/Respondents to foreclose on the subject property orto sell the property

       at a foreclosure sale and Evict.

                                                11.

              Not withstanding that Deutsche Bank was not listed as a part on either the

       Note, allonges or Mortgage and had no legal standing to collect the note or foreclose

       the mortgage, Defendant/Respondent Deutsche Bank initiated a foreclosure against

       the subject property and obtained a Final Judgment of Foreclosure on or about

       December 5, 2013. Attached hereto and made a part hereof is a certified copy of the

       Final Judgment of Foreclosure as Plaintiff/Petitioner's

                                                12.

              The property was subseg uently sold pursuant to a foreclosure sale by
       Deutsce bank National Trust. on February 22, 2013, See Plaintiff/Petitiowr's
       cOmDOsite Exhibit A. A certificate of Title was issued to Dentshe bank National Trust

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        on March 5, 2013. See PlaintifrgPetitioner's composite Exhibit A. Sub e u tl the

        nronertv was transferred bv Quitclaim Deed from the Dur.chaser, Deutshe bank

        National Trust to Plaintiff/Petitioner IAMES BUCKMAN See Plaintiff/Petitioner's




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        Exhibit D 1 and D7 l.                                14



               Rightful title in and to the subject property is in Plaintiff/Petitioner JAMES

        BUCKMAN name. Although ordinarily Plaintiff/Petitioner would take the property but

        must be subject to valid first mortgage, for Defendants/Respondents to take property

        but have no legal standing tc, collect on the note or to foreclose the mortgage, any such

        foreclosure was and is wrongful. Notwithstanding PlaintirfgPetitioner JAMES

        BUCKMAN purchaser of the subject property, Defendant/Respondent Deutsche Bank

        National Trust Company, as Trustee DEUTSCHE BANK NATIONAL TRUST

        COMPANY AS TRUSTEE, UNDER THE POOLING AND SERVICING AGREEMENT

        SERIES RAST 2006-A8 (CSFB) threatens to Evict Plaintiffs/Petitioner's from property

        after a fake foreclosure sale, although said Defendant/ Respondents have never

        produced any valid or recorded assignment, or other transfer document or other

        signed proof that it owns and holds the Note and Mortgage on the subject property.



                                           15



               1. Plaintiff/Petitioner challenges the legal standing of Defendants/

        Respondents to collect the subject note or foreclose the subject mortgage. Standing

        is jurisdictional, is not waived by Plaintiff/Petitioner, and can be raised at any time

        Federal rules of procedure 3 .1. Plaintiff/Petitioner moves for a Preliminary

        Injunction/Temporary Restraining Order to restrain and enjoin the sale and




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        eviction of the property by Defendants/Respondents on February 19, 2014 pending

        resolution of Plaintiff/Petihoner's Quiet Title claim, as more fully set forth in

        Plaintiff/Petitioner's motion set forth herein below


                 INTRODUCTION AND FACTUAL ALLEGATIONS

       This is an action brought by Plaintiff for declaratory judgment, injunctive and equitable

        relief, and for compensatory, special, general and punitive damages. Because MERS never

       got a legal Assignment from Lancaster Bank because there was no Leroy William's

        Mortgage or Note that was signed and never exhisted. So Lancaster did not assign the

        mortgage to MERS and MERS could not have Assigned the Mortgage or Note to

        Deutsche Bank Which shows that an eviction would be ILLEGAL THEFT OF THIS

        PROPERTY.

        Sowe the Plairitiff, homeowners, disputes the title and ownership of the real property

       in question (the"Home"), which is thesubjectofthisaction,inthattheoriginating

       mortgage lender, and others alleged to have ownership of Plaintiffs mortgage note

       and/ or Deed of Trust, have unlawfully sold, assigned and/ or transferred their

       ownership and security interest in PromiSSOry Note and Deed of Trust related to the

       Property, and, thus, do not have a lawful ownership or a security interest in Plaintiffs

       Home which is described in detail herein For fraud, Intentional infliction of emotional

       distress, rescission, declaratory relief based, on violations of T.I.L.A. and R.E.S.P.A.,

       upon the facts and circumstances surounding Plaintiffs original loan by Leroy

       Williams that was quit claimed to JAMES BUCKMAN, Exhibit D1. transaction and

       subsequent securitization. Defendant's violations of these laws are additional reasons

       this Court must quiet title in Plaintiffs property and

       award damages, rescission, declaratoiy judgment, and injunctive relief as requested below.
               28. From 1998 until the financial crash of2 008-2009, over 60 million home
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       loans where sold by originating lender banks to investment banks to be securitized
       in a complex series of billions of transactions. The Plaintiffs home loan was one of
       the 60 million notes that were securitized.


              29. Securitization is the process whereby mortgage loans are turned into
       securities, or bonds, and sold to investors by Wall Street and other firms. The
       purpose is to provide a large supply of money to lenders for originatingloans,
       and to provide investments to bond holders which were expected to be relatively
       safe. The procedure for selling of the loans was to create a situation whereby certain
       tax laws known as the Real Estate Mortgage Investment Conduit
       (hereinafter "REMIC") Act were observed, and whereby the Issuing Entities and the
       Lenders would be protected from either entity going into bankruptcy. In order to
       achieve the desired "bankruptcy remoteness," numerous "true Sales" of the loans had
       to occur, in which loans were sold and transferred to the different parties to the
       Securitization.


              30. A "True Sale" of the loan would be a circumstance whereby one party
       owned the Note and then sold itto another party. An offer would be made, accepted
       and compensation given to the "seller" in return for the Note. The Notes would be
       transferred, and the Deeds of Trust assigned to the buyers of the Note, with an
       Assignment made every step of the way, and furthermore, each Note would be
       endorsed to the next party by the previous assignee of record.


              31.        Each REMI CTrust created by the investment banks, usually under
       New York Law, would be funded with thousands to tens-of-thousands of mortgage
       notes. In order to maintain their bankruptcy-protected status, REM IC'S had to
       haveclosing dates by which every mortgage note that was to be sold to the REM
       IC had to be owned by the REMIC. Once the REM IC closed, it could accept no
       more mortgage notes under the terms of REMI Claw, and it would begin selling
       securities backed by payments from homeowners on the notes it "owned ".
              32. How a particular mortgage loan ended up being transferred to REMIC in
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       the securitizations process is governed by a contract known as a pooling and
       Servicing Agreement ("PSA"). The PSA is a Trust Agreement required to be filed
       under penalty of perjury with the United States Securities and Exchange Commission
       ("SEC") and which, along with another document, the Mortgage Loan Purchase
       Agreement ("MLPA"), is the operative securitization document created by the
       finance and securitization industry to memorialize securitizations transactions.

                33. When the Plaintiff in this case closed on her property, her original lender
        (or other entity claiming ownership of the note) signed a PSA that governed
        plaintiffs particular mortgage note. The PSAagreement, as described in more detail
        below, detailed the closing date by which the homeowner' s loan must be" sold" to
        the REM IC, and describe exactly how the homeowner' s note is to find it's way from
        the original lender to the REMICtrust

                34. Atypical PSA calls for a homeowner' s note to be transferred at least four
        times to different key parties before it comes into possession of the REMI Ctrustee.
        Here is a chart detailing the typical key party assignment chain required by a typical
        PSA:

                35. As part or the process, the banks almost universally separated the
        mortgage note from the deed of trust Under the common law, the owner or the note
        has the right to payments on the note, and the owner of the deed of trust has the
        right to foreclose on the homeowner if homeowner defaults on the note.
        Traditionally, before investment banks began securitizing mortgage notes, the holder
        of the note would universally hold the deed of trust This made sense because the
        party with the right to collect payments on the note would want to be able to
        foreclose using the deed of trust if the homeowner defaulted.



                36. However, to streamline the securitization process, the investment banks
        created an entity called mortgage Electronic Registrations System ("MERS"), who
        is one of the defendants in this case. The investment banks, in addition to using
        MERS' electronic database to track the buying selling and assignments of
        securitized mortgage notes (by passing the county clerks' offices), would transfer
        deeds of trust
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          To MERS, thereby separating the mortgage note from the deed of trust. MERS would
          hold the deed of trust for whoever later claimed to be the "owner" of the
          homeowner's mortgage note.

                  37. Plaintiff]AMES BUCKMAN alleges that Defendants, and each of them,
          cannot show proper receipt, possession, transfer, negotiations, assignment and
          ownership of the borrower's original Promissory Note and Deed of Trust,
          resulting in imperfect security interests and claims.

                  38. Plaintiff JAMES BUCKMAN further alleges that Defendants, and each of
          them, cannot establish possession and proper transfer and/ or Endorsement of the
          Promissory Note and proper assignment of the Deed ofTrust herein; therefore,
          none of the Defendants, and each of them, do not have the ability to establish that
          mortgages that secure the indebtness, or Note, were legally or properly acquired.



                  27, Plaintiff ]AMES BUCKMAN alleges that an actual controversy has
          arisen and now exist between the Plaintiff and Defendants, and each of them.
          PlaintiffJAMES BUCKMAN desires a judicial determination and declarationof its
          rights with regard to the Property, especially because the Mortgage and Note was
          never signed and the corresponding Promissory note and Deed ofTrust. Plaintiff
          JAMES BUCKMAN also seeks redress from Defendants identified herein for
          damages, for other injunctive relief and for cancellation of written instruments
          based upon:

                  a. An invalid and unperfected security interest in Plaintiffs Home herein
          after described;

                  b. Void "True Sale(s) violating FLORIDA law and express terms of the
          pooling and servicing Agreement ("PSA") governing the securitization of Plaintiffs
          mortgage'

                  c. An incomplete and ineffectual perfection of a security interest in
          Plaintiffs Home;

                  THERE IS ABSOLUTELY NO LANCASTER NOTE AT ALL

       Because Leroy Williams did not go to the Closing and did not sign the Notes to LANCASTER
